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                       Exhibit A
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                                                                         MUTUAL CORPORATION
                                                                         NON-ASSESSABLE POLICY
       Factory Mutual Insurance Company
       P.O. Box 7500
       Johnston, Rhode Island 02919
       1-800-343-7722

DECLARATIONS
Policy No.                                       Previous Policy No.                            DATE OF ISSUE
 1055865                                           1040318                                       28 June 2019


Account No.                                      Replaces Binder No.
 1-51791

In consideration of this Policy’s Provisions, Conditions, Stipulations, Exclusions and Limits of Liability, and of premium charged,
Factory Mutual Insurance Company, hereafter referred to as the Company, does insure:

                        INSURED:

                        New Jersey State Colleges & Universities




                                           (For Complete Title See Policy)

The term of this Policy is from the 1st day of July 2019 to the 1st day of July 2020 at 12:01 a.m., Standard Time, at the Locations of
property involved as provided in this Policy.

This Policy covers property, as described in this Policy, against ALL RISKS OF PHYSICAL LOSS OR DAMAGE, except as
hereinafter excluded, while located as described in this Policy.

By virtue of this Policy and any other policies purchased from the Company being in force, the Insured becomes a member of the
Company, subject to the provisions of its charter and by-laws, and is entitled to one vote either in person or by proxy at any and all
meetings of said Company.

Assignment of this Policy will not be valid except with the written consent of the Company.

This Policy is made and accepted subject to the above provisions and those hereinafter stated, which are made a part of this
Policy, together with such other provisions and agreements as may be added to this Policy.

In Witness, this Company has issued this Policy at its office in the city of Johnston, R. I.
this 28th day of June 2019.




 _______________________________________________
Authorized Signature                                                 Secretary                               President




Countersigned (if required) this        day of                         _________________________________________________
                                                                                                                              Agent

Form FMGA DEC                                                                                                    Printed in U.S.A.
7020 (5/99)




                                                                                                           POLICY 0001
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                                                               POLICY 0002
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                                    Factory Mutual Insurance Company
                                    Johnston, Rhode Island
                                    A Mutual Corporation




                                    This policy is Non-Assessable.



                                    It is important that the written
                                    portions of all policies covering
                                    the same property read exactly
                                    alike. If they do not, they should
                                    be made uniform at once.




                                    In case of loss notify the company
                                    or its local agent at once in writing.




7019 (9/01)




                                                                             POLICY 0003
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       This policy is issued by a mutual company having special regulations lawfully applicable to its organization,
membership, policies, or contracts of insurance of which the following shall apply to and form a part of this policy.

                             EXTRACTS FROM CHARTER OF THIS COMPANY
                            Granted by the General Assembly of the State of Rhode Island

          SECTION 5: Except as hereinafter specifically provided, each natural person, partnership, association, corporation or
legal entity insured on the mutual plan by the Corporation shall be a member of the Corporation during the term of its policy but
no longer, and at all meetings of the members shall be entitled to one vote either in person or by proxy, provided, however, that
where there is more than one insured under any policy, such insureds shall nevertheless be deemed to be a single member of the
Corporation for all purposes. The Corporation may issue policies which do not entitle the insured to membership in the
Corporation nor to participate in its surplus.

         SECTION 10: Upon the termination of the membership of any member, all his or its right and interest in the surplus,
reserves and other assets of the Corporation shall forthwith cease.


                           EXTRACTS FROM THE BY-LAWS OF THIS COMPANY
                                                       Adopted July 13, 2000


         ARTICLE 1 – MEETINGS OF THE MEMBERS

         SECTION 1. Annual Meeting
         The annual meeting of the members shall be held at the principal offices of the Company, or at such other place as may
be stated in the notice of the meeting, at 9:00 a.m. on the second Thursday of April in each year, for the election of directors and
the transaction of such other business as may be brought before the meeting. If the annual meeting is omitted on the day herein
provided therefor, a special meeting may be held in place thereof; and any business transacted or elections held at such special
meeting shall be as effective as if transacted or held at the annual meeting.




         7019 (9/01)


                                                                                                           POLICY 0004
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                                                                                                                     Account No. 1-51791
                                                                                                                      Policy No. 1055865


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                                                                                                                   Policy No. 1055865


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                                                                                    Account No. 1-51791
                                                                                     Policy No. 1055865




                                                      DECLARATIONS

        This Policy covers property, as described in this Policy, against ALL RISKS OF PHYSICAL
        LOSS OR DAMAGE, except as hereinafter excluded, while located as described in this Policy.

1.      NAMED INSURED AND MAILING ADDRESS

        New Jersey State Colleges & Universities consisting of:

        Kean University and its subsidiaries and interest in any partnership or joint venture in which Kean
        University has management control or ownership;

        Montclair State University and its subsidiaries and interest in any partnership or joint venture in
        which Montclair State University has management control or ownership;

        New Jersey City University and its subsidiaries and interest in any partnership or joint venture in
        which New Jersey City University has management control or ownership;

        Ramapo College of NJ and its subsidiaries and interest in any partnership or joint venture in which
        Ramapo College of NJ has management control or ownership;

        Rowan University and its subsidiaries and interest in any partnership or joint venture in which
        Rowan University has management control or ownership;

        Stockton University and its subsidiaries and interest in any partnership or joint venture in which
        Stockton University has management control or ownership;

        The College of New Jersey and its subsidiaries and interest in any partnership or joint venture in
        which The College of New Jersey has management control or ownership;

        Thomas Edison State University and its subsidiaries and interest in any partnership or joint venture
        in which Thomas Edison State University has management control or ownership;

        William Paterson University and its subsidiaries and interest in any partnership or joint venture in
        which William Paterson University has management control or ownership;

        as now constituted or hereafter is acquired, as the respective interest of each may appear; all
        hereafter referred to as the “Insured,” including legal representatives.

        2000 Pennington Road
        Ewing, New Jersey 08618-1104

2.      POLICY DATES

                      TERM: One Year

                      FROM: 01 July 2019 at 12:01 a.m., Standard Time;


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                                                                                          Policy No. 1055865


                      TO:       01 July 2020 at 12:01 a.m., Standard Time,

                      at the location of property involved as provided in this Policy.

3.      INSURANCE PROVIDED

        The coverage under this Policy applies to property described on the Schedule of Locations or
        covered under the terms and conditions of the AUTOMATIC COVERAGE, ERRORS AND
        OMISSIONS or MISCELLANEOUS PROPERTY provisions, unless otherwise provided.

        Schedule of Locations are as listed on the Schedule of Locations attached to this Policy.

4.      PREMIUM

        This Policy is issued in consideration of an initial premium.

5.      PREMIUM PAYABLE

        New Jersey State Colleges & Universities pays the premium under this Policy, and any return of
        the paid premium accruing under this Policy will be paid to the account of New Jersey State
        Colleges & Universities.

6.      LOSS ADJUSTMENT/PAYABLE

        Loss, if any, will be adjusted with and payable to New Jersey State Colleges & Universities, or as
        may be directed by New Jersey State Colleges & Universities.

        Additional insured interests will also be included in loss payment as their interests may appear
        when named as additional named insured, lender, mortgagee and/or loss payee either on a
        Certificate of Insurance or other evidence of insurance on file with the Company or named below.

        When named on a Certificate of Insurance or other evidence of insurance, such additional interests
        are automatically added to this Policy as their interests may appear as of the effective date shown
        on the Certificate of Insurance or other evidence of insurance. The Certificate of Insurance or other
        evidence of insurance will not amend, extend or alter the terms, conditions, provisions and limits of
        this Policy.

7.      TERRITORY

        Coverage as provided under this Policy applies worldwide except does not apply in:

        Afghanistan; Albania; Algeria; Angola; Armenia; Azerbaijan; Bangladesh; Belarus; Belize; Benin;
        Bhutan; Bolivia; Botswana; Burkina Faso; Burundi; Cambodia; Cameroon; Central African
        Republic; Chad; Cote D’Ivoire; Cuba; Democratic Republic of the Congo; Djibouti; Egypt;
        Equatorial Guinea; Eritrea; Ethiopia; Fiji; Gabon; Gambia; Georgia; Ghana; Grenada; Guinea;
        Guinea-Bissau; Guyana; Haiti; Honduras; Jammu and Kashmir in India; Iran; Iraq; Israel; Gaza
        Strip, West Bank and territories north of Latitude 32.80 N in Israel; Kenya; Laos; Lebanon;
        Lesotho; Liberia; Libya; Madagascar; Malawi; Mali; Mauritania; Mauritius; Moldova; Mongolia;
        Montenegro; Montserrat; Mozambique; Myanmar; Namibia; Nepal; Niger; Nigeria; North Korea;

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        Pakistan; Papua New Guinea; Aksai Chin and Trans-Karakoram Tract in People’s Republic of
        China; Republic of the Congo; Chechen Republic of the Russian Federation; Rwanda; Senegal;
        Seychelles; Sierra Leone; Somalia; Sri Lanka; South Sudan; Sudan; Swaziland; Syria; Tajikistan;
        Tanzania; Timor-Leste; Togo; Agri, Batman, Bingol, Bitlis, Diyarbakir, Elazig, Hakkari, Igdir,
        Mardin, Mus, Sanliurfa, Siirt, Sirnak and Van in Turkey; Turkmenistan; Uganda; Ukraine; Crimea
        Region of Ukraine; Uzbekistan; Venezuela; Yemen; Zambia; and Zimbabwe.

8.      MASTER GLOBAL INSURING POLICY

        This Policy is designated the Master Global Insuring Policy. Coverage under this Policy shall
        apply only after the coverage provided under the local policy issued by the Company, its
        representative company(ies) or any other insurance company has been exhausted. Such local
        policy will be the first policy to respond in the event of loss or damage. Only upon exhaustion of
        coverage under the local policy, this Policy covers:

        A.      the difference in definitions, perils, conditions or coverages between the local policy and this
                Policy; and

        B.      the difference between the limit(s) of liability stated in the local policy and this Policy,

        provided that:

                1) the coverage is provided under this Policy;

                2) the limit(s) of liability has been exhausted under the local policy, and

                3) the deductible(s) applicable to such claim for loss or damage under the local policy has
                   been applied. If the deductible applied in the local policy is different from the
                   deductible that would have been applied for such loss under this Policy, then this Policy
                   will provide for such difference in deductible.

        Any coverage provided under the local policy that is not provided under this Policy does not extend
        to this Policy. As respects representative company(ies) only, any insolvency or bankruptcy of the
        local insurance company shall be considered exhaustion of coverage under the local policy.

        As respects local policies issued by companies other than this Company or its representative
        company(ies), the following also applies:

        A.      This Policy will not cover:

                1) any financial loss due to insolvency or bankruptcy of the insurance company issuing the
                   local policy.

                2) any financial loss due to the application of deductibles, coinsurance or average clauses
                   under the local policy.

                3) any difference in limits of liability between the local policy and this Policy.




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                                                                                                  POLICY 0010
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                                                                                       Policy No. 1055865


        B.      It is agreed that during the term of this Policy the Insured will not cancel or restrict any
                insurance in force at the time coverage hereunder attaches, which covers the same risk(s) as
                covered hereunder, without the knowledge and consent of the Company.

        C.      If the local policy is cancelled, restricted or allowed to expire and not renewed without the
                knowledge and consent of the Company, this coverage will continue to apply as though such
                local policy had been maintained in full force and effect.

9.      JURISDICTION

        This Policy will be governed by the laws of the United States of America.

        Any disputes arising hereunder will be exclusively subject to United States of America jurisdiction.

10.     CURRENCY

        All amounts, including deductibles, premiums and limits of liability, indicated in this Policy shall
        be in the currency represented by the three letter currency designation shown. This three letter
        currency designator is defined in Table A.1-Currency and funds code list, International
        Organization for Standardization (ISO) 4217, edition in effect at the inception of this Policy.

11.     LIMITS OF LIABILITY

        The Company’s maximum limit of liability in an occurrence, including any insured TIME
        ELEMENT loss, will not exceed the Policy limit of liability of USD2,000,000,000 subject to the
        following provisions:

        A.      Limits of liability and time limits stated below or elsewhere in this Policy are part of, and not
                in addition to, the Policy limit of liability.

        B.      Limits of liability in an occurrence apply to the total loss or damage at all locations and for
                all coverages involved, including any insured TIME ELEMENT loss, subject to the
                following provisions:

                1) when a limit of liability applies in the aggregate during any policy year, the
                   Company’s maximum amount payable will not exceed such limit of liability during any
                   policy year.

                2) when a limit of liability applies to a location or other specified property, such limit of
                   liability will be the maximum amount payable for all loss or damage at all locations
                   arising from physical loss or damage at such location or to such other specified
                   property.

        C.      Should an occurrence result in liability payable under more than one policy issued to the
                Named Insured by the Company, or its representative companies, the maximum amount
                payable in the aggregate under all such policies will be the applicable limit(s) of liability
                indicated in this Policy.

       Applicable Limits of Liability/Time Limits:


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                                                                                                 POLICY 0011
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                                                                                                Account No. 1-51791
                                                                                                 Policy No. 1055865



         cogeneration equipment                                         USD1,000,000 for TIME ELEMENT but not to
                                                                        exceed a USD10,000 limit, per day

         Rowan University Fossil Quarry, 625                            USD100,000 in the aggregate during any
         Woodbury Glassboro Road, Sewell, New                           policy year for quarry sediment dislodged as a
         Jersey as described on the Schedule of                         result of collapse and excess water accumulation
         Locations                                                      in the quarry as a result of the failure of the
                                                                        quarry water pump combined

         property located outside of the United States                  USD5,000,000
         of America, Canada and the Commonwealth
         of Puerto Rico

         ATTRACTION PROPERTY                                            30 consecutive days

         AUTOMATIC COVERAGE                                             90 day period but not to exceed a
                                                                        USD100,000,000 limit, per location

         CIVIL OR MILITARY AUTHORITY                                    30 consecutive days

         CLAIMS PREPARATION COSTS                                       USD100,000

         COINSURANCE DEFICIENCY AND                                     USD100,000,000
         CURRENCY DEVALUATION

         COMMUNICABLE DISEASE RESPONSE                                  USD1,000,000 in the aggregate during any
                                                                        policy year

                                                                        The Company’s maximum limit of liability for
                                                                        INTERRUPTION BY COMMUNICABLE
                                                                        DISEASE and this coverage combined shall not
                                                                        exceed USD1,000,000 in the aggregate during
                                                                        any policy year regardless of the number of
                                                                        locations, coverages or occurrences involved.

         COMPUTER SYSTEMS NON PHYSICAL                                  USD10,000,000
         DAMAGE and DATA, PROGRAMS OR
         SOFTWARE combined

         CONTINGENT TIME ELEMENT                                        USD25,000,000
         EXTENDED

         CRISIS MANAGEMENT                                              30 consecutive days

         DAMS AND APPURTENANT                                           USD2,000,000 per dam for dams described on


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                                                                                                          POLICY 0012
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                                                                                                 Account No. 1-51791
                                                                                                  Policy No. 1055865


         STRUCTURES                                                     the Dams Schedule, Appendix B

         earth movement                                                 USD250,000,000 in the aggregate during any
                                                                        policy year but not to exceed the following
                                                                        limits in the aggregate during any policy year:

                                                                        a)      USD200,000 for property located in
                                                                                California

                                                                        b)      USD5,000,000 for property located
                                                                                outside of the United States of America,
                                                                                Canada and the Commonwealth of Puerto
                                                                                Rico

         ERRORS AND OMISSIONS                                           USD100,000,000

         EXPEDITING COSTS and EXTRA                                     USD100,000,000
         EXPENSE combined

         EXTENDED PERIOD OF LIABILITY                                   90 day period

         fine arts                                                      USD100,000,000 in the aggregate during any
                                                                        policy year but not to exceed a USD10,000,000
                                                                        limit in the aggregate during any policy year
                                                                        per Campus but not to exceed the following
                                                                        limit:

                                                                        a)      USD50,000 limit per item but not to
                                                                                exceed a USD10,000 limit per item for
                                                                                irreplaceable fine arts not on a schedule
                                                                                on file with the Company

         fines or penalties for breach of contract or for               USD100,000
         late or noncompletion of orders combined

         flood                                                          USD250,000,000 but not to exceed the following
                                                                        limit:

                                                                        a)      USD100,000,000 for property described
                                                                                on the Flood Locations, Appendix D
                                                                                combined

         GROSS PROFIT                                                   12 month period but not to exceed a 180 day
                                                                        period of Ordinary Payroll

         INGRESS/EGRESS                                                 30 day period



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                                                                                                 Policy No. 1055865


         INTERRUPTION BY COMMUNICABLE                                   12 month period but not to exceed a
         DISEASE                                                        USD1,000,000 limit in the aggregate during
                                                                        any policy year

                                                                        The Company’s maximum limit of liability for
                                                                        COMMUNICABLE DISEASE RESPONSE and
                                                                        this coverage combined shall not exceed
                                                                        USD1,000,000 in the aggregate during any
                                                                        policy year regardless of the number of
                                                                        locations, coverages or occurrences involved.

         LAND AND WATER CONTAMINANT                                     USD50,000 in the aggregate during any policy
         CLEANUP, REMOVAL AND DISPOSAL                                  year

         LOGISTICS EXTRA COST                                           180 day period but not to exceed 200% of the
                                                                        normal cost

         MISCELLANEOUS PROPERTY                                         As respects property at a location:

                                                                        a)      USD10,000,000 per location

                                                                        As respects property not at a location:

                                                                        a)      USD10,000,000

         motorboats and rowing sculls                                   USD1,000,000

         NEIGHBOUR’S RECOURSE AND                                       USD10,000,000
         TENANT’S LIABILITY

         OFF PREMISES DATA SERVICES                                     USD5,000,000
         PROPERTY DAMAGE and OFF PREMISES
         DATA SERVICES TIME ELEMENT
         combined

         Ordinary Payroll                                               180 day period

         RESEARCH ANIMALS                                               USD1,000,000 in the aggregate during any
                                                                        policy year but not to exceed the following
                                                                        limits:

                                                                        a)      USD50,000 in the aggregate during any
                                                                                policy year per Campus but not to exceed
                                                                                a USD1,000 limit per animal

         SERVICE INTERRUPTION PROPERTY                                  USD10,000,000
         DAMAGE and SERVICE INTERRUPTION


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         TIME ELEMENT combined

         TERRORISM                                                      USD5,000,000 in the aggregate during any
                                                                        policy year but not to exceed the following
                                                                        limits in the aggregate during any policy year:

                                                                        a)      USD5,000,000 for AUTOMATIC
                                                                                COVERAGE, ERRORS AND
                                                                                OMISSIONS, MISCELLANEOUS
                                                                                PROPERTY and TEMPORARY
                                                                                REMOVAL OF PROPERTY combined

                                                                        b)      USD5,000,000 for flood when caused by
                                                                                or resulting from terrorism

                                                                        The limits for TERRORISM shall not include the
                                                                        actual cash value portion of fire damage caused
                                                                        by terrorism.

                                                                        The limits for TERRORISM do not apply to the
                                                                        SUPPLEMENTAL UNITED STATES
                                                                        CERTIFIED ACT OF TERRORISM
                                                                        ENDORSEMENT(S).

         valuable papers and records                                    USD100,000,000 in the aggregate during any
                                                                        policy year but not to exceed a USD10,000,000
                                                                        limit in the aggregate during any policy year
                                                                        per Campus but not to exceed the following
                                                                        limits:

                                                                        a)      USD10,000,000 for rare books but not to
                                                                                exceed a USD1,250 limit per rare book

                                                                        b)      USD50,000 per item but not to
                                                                                exceed a USD10,000 limit per item for
                                                                                irreplaceable valuable papers and
                                                                                records not on a schedule on file with
                                                                                the Company



12.     DEDUCTIBLES

        Subject to the deductible general provisions stated below, in each case of loss covered by this
        Policy the following deductibles apply:

         As respects South Jersey Technology Park at                    USD25,000 combined all coverages, per



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         Rowan University, 107 Gilbreth Parkway,                        occurrence
         Mullica Hill, New Jersey as described on the
         Schedule of Locations

         As respects Whitney Hall retail space at                       USD25,000 combined all coverages, per
         Rowan University, 201 Mullica Hill Road,                       occurrence
         Glassboro, New Jersey as described on the
         Schedule of Locations

         cogeneration equipment                                         Property Damage: USD100,000, per occurrence

                                                                        Time Element: USD150,000, per occurrence

                                                                        The above are subject to a minimum deductible
                                                                        of USD100,000 for Property Damage and Time
                                                                        Element combined, per occurrence.

         COMPUTER SYSTEMS NON PHYSICAL                                  USD250,000 per occurrence
         DAMAGE

         DATA, PROGRAMS OR SOFTWARE                                     USD250,000 as respects loss or damage caused
                                                                        by the malicious introduction of a machine code
                                                                        or instruction, per occurrence.

         earthquake                                                     a)      As respects property located in California:

                                                                                Property Damage: 5%, per location

                                                                                Time Element: 5%, per location

                                                                                The above are subject to a minimum
                                                                                deductible of USD100,000 for Property
                                                                                Damage and Time Element combined,
                                                                                per location.

         flood                                                          a)      As respects locations described on the
                                                                                Flood Locations, Appendix D, except New
                                                                                Jersey School of Conservation, Montclair
                                                                                State University, 1 Wapalanne Road,
                                                                                Branchville, New Jersey, the following
                                                                                deductibles will apply:

                                                                                USD500,000 for combined all
                                                                                coverages, per location, except
                                                                                USD100,000 combined all coverages,
                                                                                per location, subject to the National
                                                                                Flood Insurance Program Provision in
                                                                                the OTHER INSURANCE clause of


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                                                                                this Policy

                                                                        b)      As respects New Jersey School of
                                                                                Conservation, Montclair State University,
                                                                                1 Wapalanne Road, Branchville, New
                                                                                Jersey as described on the Flood
                                                                                Locations, Appendix D:

                                                                                USD200,000 combined all coverages,
                                                                                per occurrence

         LOGISTICS EXTRA COST                                           USD100,000 per occurrence

         OFF PREMISES DATA SERVICES                                     USD250,000 per occurrence
         PROPERTY DAMAGE and OFF PREMISES
         DATA SERVICES TIME ELEMENT
         combined

         wind                                                           a)      As respects Wind Areas Tier 1 locations as
                                                                                described on the Wind Areas, Appendix C:

                                                                                Property Damage: 5%, per location

                                                                                Time Element: 5%, per location

                                                                                The above are subject to a minimum
                                                                                deductible of USD100,000 for Property
                                                                                Damage and Time Element combined, per
                                                                                location.

                                                                        b)      As respects Wind Areas United States
                                                                                Northeast locations as described on the
                                                                                Wind Areas, Appendix C:

                                                                                USD100,000 for Property Damage and
                                                                                Time Element combined, per location.

         All Other Loss                                                 USD100,000 combined all coverages, per
                                                                        occurrence



        Deductible General Provisions:

        In each case of loss covered by this Policy, the Company will be liable only if the Insured sustains
        a loss, including any insured TIME ELEMENT loss, in a single occurrence greater than the
        applicable deductible specified above, and only for its share of that greater amount.




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        A.      For SERVICE INTERRUPTION loss, when a deductible is not specifically stated as
                applying to SERVICE INTERRUPTION, the deductible applied to the SERVICE
                INTERRUPTION loss will be the deductible that would apply if the cause of the interruption
                happened at the insured location that sustains the interruption of the specified services.

        B.      For CONTINGENT TIME ELEMENT EXTENDED loss, when a deductible is not
                specifically stated as applying to CONTINGENT TIME ELEMENT EXTENDED, the
                deductible for CONTINGENT TIME ELEMENT EXTENDED loss will be determined as
                though the contingent time element location was an insured location under this Policy.

        C.      The stated earthquake deductible will be applied to earthquake loss. The stated flood
                deductible will be applied to flood loss. The stated wind deductible will be applied to wind
                loss. The provisions of item E below will also be applied to each.

                As respects locations described on the Flood and Wind Locations, Appendix E and
                notwithstanding item E below, in the event of loss resulting from both flood and wind, such
                flood and wind loss shall be adjusted separately from each other with each being subject to
                its respective deductible.

        D.      When this Policy insures more than one location, the deductible will apply against the total
                loss covered by this Policy in an occurrence except that a deductible that applies on a per
                location basis, if specified, will apply separately to each location where the physical damage
                happened regardless of the number of locations involved in the occurrence.

        E.      Unless stated otherwise, if two or more deductibles apply to an occurrence, the total to be
                deducted will not exceed the largest deductible applicable. For the purposes of this
                provision, when a separate Property Damage and a separate Time Element deductible apply,
                the sum of the two deductibles will be considered a single deductible. If two or more
                deductibles apply on a per location basis in an occurrence, the largest deductible applying
                to each location will be applied separately to each such location.

        F.      When a % deductible is stated above, whether separately or combined, the deductible is
                calculated as follows:

                Property Damage – % of the value, per the Valuation clause(s) of the PROPERTY
                DAMAGE section, of the property insured at the location where the physical damage
                happened.

                Time Element – % of the full Time Element values that would have been earned in the 12
                month period following the occurrence by use of the facilities at the location where the
                physical damage happened, plus that proportion of the full Time Element values at all other
                locations where TIME ELEMENT loss ensues that was directly affected by use of such
                facilities and that would have been earned in the 12 month period following the occurrence.

        G.      For insured physical loss or damage:

                1) to insured fire protection equipment; or




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                2) from water or other substance discharged from fire protection equipment of the type
                   insured,

                the applicable deductible applying to items 1 or 2 above only will be reduced by fifty percent
                (50%), per occurrence. However, this provision will not apply to loss or damage resulting
                from fire or earth movement regardless of whether claim is made for such fire or earth
                movement.




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                                                  PROPERTY DAMAGE

1.      INSURED PROPERTY

        This Policy insures the following property, unless otherwise excluded elsewhere in this Policy, as
        described in the INSURANCE PROVIDED provision or within 1,000 feet/300 metres thereof, to
        the extent of the interest of the Insured in such property:

        A.      Real Property, including new buildings and additions under construction, in which the
                Insured has an insurable interest.

        B.      Personal Property:

                1) owned by the Insured.

                2) consisting of the Insured’s interest as a tenant in improvements and betterments. In the
                   event of physical loss or damage, the Company agrees to accept and consider the
                   Insured as sole and unconditional owner of improvements and betterments,
                   notwithstanding any contract or lease to the contrary.

                3) of officers and employees of the Insured.

                4) of others in the Insured’s custody to the extent the Insured is under obligation to keep
                   insured for physical loss or damage insured by this Policy.

                5) of others in the Insured’s custody to the extent of the Insured’s legal liability for insured
                   physical loss or damage to Personal Property. The Company will defend that portion of
                   any suit against the Insured that alleges such liability and seeks damages for such
                   insured physical loss or damage. The Company may, without prejudice, investigate,
                   negotiate and settle any claim or suit as the Company deems expedient.

        This Policy also insures the interest of contractors and subcontractors in insured property during
        construction at an insured location or within 1,000 feet/300 metres thereof, to the extent of the
        Insured’s legal liability for insured physical loss or damage to such property. Such interest of
        contractors and subcontractors is limited to the property for which they have been hired to perform
        work and such interest will not extend to any TIME ELEMENT coverage provided under this
        Policy.

2.      EXCLUDED PROPERTY

        The following exclusions apply unless otherwise stated in this Policy:

        This Policy excludes:

        A.      currency, money, notes or securities.

        B.      precious metal in bullion form.




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        C.      land, including but not limited to pit walls, roads in the pit, pit benches, pit steps, and any
                substance in or on land. However, this exclusion does not apply to:

                1) landscape gardening.

                2) pavement, roadways other than roads in the pit, railways, transformer enclosures,
                   walkways, car parks or parking lots.

                3) fill beneath insured pavement, roadways, railways, transformer enclosures, walkways,
                   car parks, parking lots or buildings and structures.

                4) quarry sediment dislodged as a result of collapse at Rowan University Fossil Quarry,
                   625 Woodbury Glassboro Road, Sewell, New Jersey as described on the Schedule of
                   Locations.

        D.      water. However, this exclusion does not apply to:

                1) water that is contained within any enclosed tank, piping system or any other processing
                   equipment.

                2) excess water which accumulates in the quarry as a result of the failure of the quarry
                   water pump located at Rowan University Fossil Quarry, 625 Woodbury Glassboro Road,
                   Sewell, New Jersey as described on the Schedule of Locations.

        E.      animals except as provided by the RESEARCH ANIMALS coverage of this policy, standing
                timber or growing crops.

        F.      watercraft, except:

                1) when unfueled and manufactured by the Insured.

                2) watercraft consisting of motorboats less than twenty feet in length and rowing sculls,
                   while out of the water.

        G.      aircraft, except when unfueled and manufactured by the Insured.

        H.      vehicles of officers or employees of the Insured or vehicles otherwise insured for physical
                loss or damage.

        I.      underground mines or mine shafts or any property within such mine or shaft.

        J.      dams and appurtenant structures or dikes, except as provided by the DAMS AND
                APPURTENANT STRUCTURES coverage of this Policy.

        K.      property in transit, except as otherwise provided by this Policy.

        L.      property sold by the Insured under conditional sale, trust agreement, installment plan or
                other deferred payment plan after delivery to customers, except as provided by the
                INSTALLMENT OR DEFERRED PAYMENTS coverage of this Policy.


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        M.      electronic data, programs or software, except when they are stock in process, finished goods
                manufactured by the Insured, raw materials, supplies or other merchandise not manufactured
                by the Insured, or as otherwise provided by the DATA, PROGRAMS OR SOFTWARE
                coverage of this Policy.

        N.      property located at 401 South New York Road, Galloway, New Jersey, 08205-9753.

        O.      property located at 801 Boardwalk, Atlantic City, New Jersey, 08401-7509.

        P.      property located at Albany Avenue between Atlantic and Ventnor Avenue, Atlantic City,
                New Jersey, 08401.

3.      EXCLUSIONS

        In addition to the exclusions elsewhere in this Policy, the following exclusions apply unless
        otherwise stated:

        A.      This Policy excludes:

                1) indirect or remote loss or damage.

                2) interruption of business, except to the extent provided by this Policy.

                3) loss of market or loss of use.

                4) loss or damage or deterioration arising from any delay.

                5) mysterious disappearance, loss or shortage disclosed on taking inventory, or any
                   unexplained loss.

                6) loss from enforcement of any law or ordinance:

                      a) regulating the construction, repair, replacement, use or removal, including debris
                         removal, of any property; or

                      b) requiring the demolition of any property, including the cost in removing its debris;

                      except as provided by the DECONTAMINATION COSTS and LAW AND
                      ORDINANCE coverages of this Policy.

                7) loss resulting from the voluntary parting with title or possession of property if induced
                   by any fraudulent act or by false pretence.

        B.      This Policy excludes loss or damage directly or indirectly caused by or resulting from any of
                the following regardless of any other cause or event, whether or not insured under this
                Policy, contributing concurrently or in any other sequence to the loss:

                1) nuclear reaction or nuclear radiation or radioactive contamination. However:


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                      a) if physical damage by fire or sprinkler leakage results, then only that resulting
                         damage is insured; but not including any loss or damage due to nuclear reaction,
                         radiation or radioactive contamination.

                      b) this Policy does insure physical damage directly caused by sudden and accidental
                         radioactive contamination, including resultant radiation damage, from material used
                         or stored or from processes conducted on the insured location, provided that on the
                         date of loss, there is neither a nuclear reactor nor any new or used nuclear fuel on
                         the insured location. This coverage does not apply to any act, loss or damage
                         excluded in item B2f of this EXCLUSIONS clause.

                      This exclusion B1 and the exceptions in B1a and B1b do not apply to any act, loss or
                      damage which also comes within the terms of exclusion B2b of this EXCLUSIONS
                      clause.

                2) a) hostile or warlike action in time of peace or war, including action in hindering,
                      combating or defending against an actual, impending or expected attack by any:

                           (i) government or sovereign power (de jure or de facto);

                           (ii) military, naval or air force; or

                           (iii) agent or authority of any party specified in i or ii above.

                      b) discharge, explosion or use of any nuclear device, weapon or material employing or
                         involving nuclear fission, fusion or radioactive force, whether in time of peace or
                         war and regardless of who commits the act.

                      c) insurrection, rebellion, revolution, civil war, usurped power, or action taken by
                         governmental authority in hindering, combating or defending against such an event.

                      d) seizure or destruction under quarantine or custom regulation, or confiscation by
                         order of any governmental or public authority.

                      e) risks of contraband, or illegal transportation or trade.

                      f) terrorism, including action taken to prevent, defend against, respond to or retaliate
                         against terrorism or suspected terrorism, except to the extent provided in the
                         TERRORISM coverage of the Policy. However, if direct loss or damage by fire
                         results from any of these acts (unless committed by or on behalf of the Insured),
                         then this Policy covers only to the extent of the actual cash value of the resulting
                         direct loss or damage by fire to property insured. This coverage exception for such
                         resulting fire loss or damage does not apply to:

                           (i) direct loss or damage by fire which results from any other applicable exclusion
                               in the Policy, including the discharge, explosion or use of any nuclear device,
                               weapon or material employing or involving nuclear fission, fusion or radioactive
                               force, whether in time of peace or war and regardless of who commits the act.


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                           (ii) any coverage provided in the TIME ELEMENT section of this Policy or to any
                                other coverages provided in this Policy.

                           Any act which satisfies the definition of terrorism shall not be considered to be
                           vandalism, malicious mischief, riot, civil commotion, or any other risk of physical
                           loss or damage covered elsewhere in this Policy.

                           If any act which satisfies the definition of terrorism also comes within the terms of
                           item B2a of this EXCLUSIONS clause then item B2a applies in place of this item
                           B2f exclusion.

                           If any act which satisfies the definition of terrorism also comes within the terms of
                           item B2b of this EXCLUSIONS clause then item B2b applies in place of this item
                           B2f exclusion.

                           If any act which satisfies the definition of terrorism also comes within the terms of
                           item B2c of this EXCLUSIONS clause then item B2c applies in place of this item
                           B2f exclusion.

                           If any act excluded herein involves nuclear reaction, nuclear radiation or radioactive
                           contamination, this item B2f exclusion applies in place of item B1 of this
                           EXCLUSIONS clause.

                3) any dishonest act, including but not limited to theft, committed alone or in collusion
                   with others, at any time:

                      a) by an Insured or any proprietor, partner, director, trustee, officer, or employee of an
                         Insured; or

                      b) by any proprietor, partner, director, trustee, or officer of any business or entity (other
                         than a common carrier) engaged by an Insured to do anything in connection with
                         property insured under this Policy.

                      This Policy does insure acts of direct insured physical damage intentionally caused by
                      an employee of an Insured or any individual specified in b above, and done without the
                      knowledge of the Insured. This coverage does not apply to any act excluded in B2f of
                      this EXCLUSIONS clause. In no event does this Policy cover loss by theft by any
                      individual specified in a or b above.

                4) lack of the following services:

                      a) incoming electricity, fuel, water, gas, steam or refrigerant;

                      b) outgoing sewerage;

                      c) incoming or outgoing voice, data or video,




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                      all when caused by an event off the insured location, except as provided in the
                      SERVICE INTERRUPTION and OFF PREMISES DATA SERVICES coverages of this
                      Policy. But, if the lack of such a service directly causes insured physical damage on the
                      insured location, then only that resulting damage is insured.

        C.      This Policy excludes the following, but, if physical damage not excluded by this Policy
                results, then only that resulting damage is insured:

                1) faulty workmanship, material, construction or design from any cause.

                2) loss or damage to stock or material attributable to manufacturing or processing
                   operations while such stock or material is being processed, manufactured, tested, or
                   otherwise worked on.

                3) deterioration, depletion, rust, corrosion or erosion, wear and tear, inherent vice or latent
                   defect.

                4) settling, cracking, shrinking, bulging, or expansion of:

                      a) foundations (including any pedestal, pad, platform or other property supporting
                         machinery).

                      b) floors.

                      c) pavements.

                      d) walls.

                      e) ceilings.

                      f) roofs.

                5) a) changes of temperature damage (except to machinery or equipment); or

                      b) changes in relative humidity damage,

                      all whether atmospheric or not.

                6) insect, animal or vermin damage.

                7) loss or damage to the interior portion of buildings under construction from rain, sleet or
                   snow, whether or not driven by wind, when the installation of the roof, walls or windows
                   of such buildings has not been completed.

        D.      This Policy excludes the following unless directly resulting from other physical damage not
                excluded by this Policy:

                1) contamination, and any cost due to contamination including the inability to use or
                   occupy property or any cost of making property safe or suitable for use or occupancy. If


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                      contamination due only to the actual not suspected presence of contaminant(s) directly
                      results from other physical damage not excluded by this Policy, then only physical
                      damage caused by such contamination may be insured. This exclusion D1 does not
                      apply to radioactive contamination which is excluded elsewhere in this Policy.

                2) shrinkage.

                3) changes in color, flavor, texture or finish.

4.      APPLICATION OF POLICY TO DATE OR TIME RECOGNITION

        With respect to situations caused by any date or time recognition problem by electronic data
        processing equipment or media (such as the so-called Year 2000 problem), this Policy applies as
        follows.

        A.      This Policy does not pay for remediation, change, correction, repair or assessment of any
                date or time recognition problem, including the Year 2000 problem, in any electronic data
                processing equipment or media, whether preventative or remedial, and whether before or
                after a loss, including temporary protection and preservation of property. This Policy does
                not pay for any TIME ELEMENT loss resulting from the foregoing remediation, change,
                correction, repair or assessment.

        B.      Failure of electronic data processing equipment or media to correctly recognize, interpret,
                calculate, compare, differentiate, sequence, access or process data involving one or more
                dates or times, including the Year 2000, is not insured physical loss or damage. This Policy
                does not pay for any such incident or for any TIME ELEMENT loss resulting from any such
                incident.

        Subject to all of its terms and conditions, this Policy does pay for physical loss or damage not
        excluded by this Policy that results from a failure of electronic data processing equipment or
        media to correctly recognize, interpret, calculate, compare, differentiate, sequence, access or
        process data involving one or more dates or times, including the Year 2000. Such covered
        resulting physical loss or damage does not include any loss, cost or expense described in A or B
        above. If such covered resulting physical loss or damage happens, and if this Policy provides
        TIME ELEMENT coverage, then, subject to all of its terms and conditions, this Policy also covers
        any insured Time Element loss directly resulting therefrom.

5.      VALUATION

        Adjustment of the physical loss amount under this Policy will be computed as of the date of loss at
        the place of the loss, and for no more than the interest of the Insured.

        Unless stated otherwise in an Additional Coverage, adjustment of physical loss to property will be
        subject to the following:

        A.      On stock in process, the value of raw materials and labor expended plus the proper
                proportion of overhead charges.




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        B.      On finished goods manufactured by the Insured, the regular cash selling price, less all
                discounts and charges to which the finished goods would have been subject had no loss
                happened.

        C.      On raw materials, supplies or other merchandise not manufactured by the Insured:

                1) if repaired or replaced, the actual expenditure incurred in repairing or replacing the
                   damaged or destroyed property; or

                2) if not repaired or replaced, the actual cash value.

        D.      On exposed films, records, manuscripts and drawings that are not valuable papers and
                records, the value blank plus the cost of copying information from back-up or from originals
                of a previous generation. These costs will not include research, engineering or any costs of
                restoring or recreating lost information.

        E.      On property that is damaged by fire and such fire is the result of terrorism, the actual cash
                value of the fire damage loss. Any remaining fire damage loss shall be adjusted according
                to the terms and conditions of the Valuation clause(s) in this section of the Policy and shall
                be subject to the limit(s) of liability for TERRORISM, and if stated the limit of liability for
                SUPPLEMENTAL UNITED STATES CERTIFIED ACT OF TERRORISM
                ENDORSEMENT(S), as shown in the LIMITS OF LIABILITY clause in the
                DECLARATIONS section.

        F.      On the following library resource materials:

                1) books, except rare books – USD150 per book.

                2) periodicals – USD125 per periodical.

                3) microforms – USD15 per microform.

                4) pre-recorded audio or video tapes – USD75 per re-recorded audio or video tape.

        G.      On all other property, the lesser of the following:

                1) The cost to repair.

                2) The cost to rebuild or replace on the same site with new materials of like size, kind and
                   quality.

                3) The cost in rebuilding, repairing or replacing on the same or another site, but not to
                   exceed the size and operating capacity that existed on the date of loss.

                4) The selling price of real property or machinery and equipment, other than stock, offered
                   for sale on the date of loss.

                5) The cost to replace unrepairable electrical or mechanical equipment, including computer
                   equipment, with equipment that is the most functionally equivalent to that damaged or


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                      destroyed, even if such equipment has technological advantages and/or represents an
                      improvement in function and/or forms part of a program of system enhancement.

                6) The increased cost of demolition, if any, directly resulting from insured loss, if such
                   property is scheduled for demolition.

                7) The unamortized value of improvements and betterments, if such property is not
                   repaired or replaced at the Insured’s expense.

                8) The actual cash value if such property is:

                      a) useless to the Insured; or

                      b) not repaired, replaced or rebuilt on the same or another site within two years from
                         the date of loss, unless such time is extended by the Company.

                The Insured may elect not to repair or replace the insured real or personal property lost,
                damaged or destroyed. Loss settlement may be elected on the lesser of repair or replacement
                cost basis if the proceeds of such loss settlement are expended on other capital expenditures
                related to the Insured’s operations within two years from the date of loss. As a condition of
                collecting under this item, such expenditure must be unplanned as of the date of loss and be
                made at an insured location under this Policy. This item does not extend to LAW AND
                ORDINANCE.

6.      ADDITIONAL COVERAGES

        This Policy includes the following Additional Coverages for insured physical loss or damage.

        These Additional Coverages:

        1)      are subject to the applicable limit of liability;

        2)      will not increase the Policy limit of liability; and

        3)      are subject to the Policy provisions, including applicable exclusions and deductibles,

        all as shown in this section and elsewhere in this Policy.

        CYBER ADDITIONAL COVERAGES

        A.      DATA, PROGRAMS OR SOFTWARE

                This Policy covers insured physical loss or damage to electronic data, programs or
                software, including physical loss or damage caused by the malicious introduction of a
                machine code or instruction.

                For the purposes of this Additional Coverage, insured data, programs or software can be
                anywhere worldwide, including while in transit, except in Cuba, Iran, North Korea, Sudan,
                Syria or Crimea Region of Ukraine.


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                With respect to destruction, distortion or corruption caused by the malicious introduction of
                machine code or instruction, this Additional Coverage will apply when the Period of
                Liability is in excess of 48 hours.

                This Additional Coverage also covers:

                1) the cost of the following reasonable and necessary actions taken by the Insured provided
                   such actions are taken due to actual insured physical loss or damage to electronic data,
                   programs or software:

                      a) actions to temporarily protect and preserve insured electronic data, programs or
                         software.

                      b) actions taken for the temporary repair of insured physical loss or damage to
                         electronic data, programs or software.

                      c) actions taken to expedite the permanent repair or replacement of such damaged
                         property.

                2) the reasonable and necessary costs incurred by the Insured to temporarily protect or
                   preserve insured electronic data, programs or software against immediately impending
                   insured physical loss or damage to electronic data, programs or software. In the
                   event that there is no physical loss or damage, the costs covered under this item will be
                   subject to the deductible that would have applied had there been such physical loss or
                   damage.

                Costs recoverable under this Additional Coverage are excluded from coverage elsewhere in
                this Policy.

                This Additional Coverage excludes loss or damage to data, programs or software when they
                are stock in process, finished goods manufactured by the Insured, raw materials, supplies or
                other merchandise not manufactured by the Insured.

                DATA, PROGRAMS OR SOFTWARE Exclusions: As respects DATA, PROGRAMS OR
                SOFTWARE, the following applies:

                1) the exclusions in the EXCLUSIONS clause of this section do not apply except for A1,
                   A2, A6, B1, B2, B3a and B4.

                2) the following additional exclusions apply:

                      This Policy excludes the following, but, if physical damage not excluded by this Policy
                      results, then only that resulting damage is insured:

                      a) errors or omissions in processing or copying.

                      b) loss or damage to data, programs or software from errors or omissions in
                         programming or machine instructions.


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                      c) deterioration, inherent vice, vermin or wear and tear.

                DATA, PROGRAMS OR SOFTWARE Valuation: On property covered under this
                Additional Coverage the loss amount will not exceed:

                1) the cost to repair, replace or restore data, programs or software including the costs to
                   recreate, research and engineer;

                2) if not repaired, replaced or restored within two years from the date of loss, the blank
                   value of the media.

        B.      OFF PREMISES DATA SERVICES PROPERTY DAMAGE

                This Policy covers insured physical loss or damage to insured property at an insured
                location when such physical loss or damage results from the interruption of off-premises
                data processing or data transmission services by reason of any accidental event at the
                facilities of the provider of such services that immediately prevents in whole or in part the
                delivery of such provided services.

                For the purposes of this Additional Coverage:

                1) facilities of the provider of off-premises data processing or data transmission
                   services can be located worldwide except in Cuba, Iran, North Korea, Sudan, Syria or
                   Crimea Region of Ukraine, and

                2) an accidental event to satellites will be considered an accidental event at the facilities of
                   the provider.

                This Additional Coverage will apply when the period of interruption of off-premises data
                processing or data transmission services as described below is in excess of 24 hours.

                The period of interruption of off-premises data processing or data transmission services
                is the period starting with the time when an interruption of provided services happens; and
                ending when with due diligence and dispatch the service could be wholly restored.

                Additional General Provisions:

                1) The Insured will immediately notify the company providing off-premises data
                   processing or data transmission services of any interruption of such services.

                2) The Company will not be liable if the interruption of such services is caused directly or
                   indirectly by the failure of the Insured to comply with the terms and conditions of any
                   contracts the Insured has entered into for such specified services.

                OFF PREMISES DATA SERVICES PROPERTY DAMAGE Exclusions: As respects OFF
                PREMISES DATA SERVICES PROPERTY DAMAGE, the following applies:




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                1) Items B4 and C5 of the EXCLUSIONS clause in this section do not apply except for B4
                   with respect to:

                      a) incoming electricity, fuel, water, gas, steam or refrigerant; and

                      b) outgoing sewerage.

                2) The following additional exclusions apply:

                      This Policy excludes loss or damage directly or indirectly caused by or resulting from
                      the following regardless of any other cause or event, whether or not insured under this
                      Policy, contributing concurrently or in any other sequence to the loss:

                      a) earth movement for property located in the New Madrid Seismic Zone or in the
                         Pacific Northwest Seismic Zone.

                      b) terrorism.

        OTHER ADDITIONAL COVERAGES

        A.      ACCIDENTAL INTERRUPTION OF SERVICES

                This Policy covers physical damage resulting from changes in temperature or relative
                humidity to insured property at an insured location when such changes in temperature or
                relative humidity result from the interruption of services consisting of electricity, gas, fuel,
                steam, water or refrigeration by reason of any accidental event, other than insured physical
                loss or damage, at the insured location.

                This Additional Coverage will apply when the period of service interruption as described
                below is in excess of 24 hours.

                The period of service interruption is the period starting with the time when an interruption of
                specified services happens; and ending when with due diligence and dispatch the service
                could be wholly restored.

        B.      ACCOUNTS RECEIVABLE

                This Policy covers the following directly resulting from insured physical loss or damage to
                accounts receivable records while anywhere within this Policy’s TERRITORY, including
                while in transit:

                1) any shortage in the collection of accounts receivable.

                2) the interest charges on any loan to offset such impaired collection pending repayment of
                   such uncollectible sum. Unearned interest and service charges on deferred payment
                   accounts and normal credit losses on bad debts will be deducted in determining the
                   amount recoverable.




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                3) the reasonable and necessary cost incurred for material and time required to re-establish
                   or reconstruct accounts receivable records excluding any costs covered by any other
                   insurance.

                4) any other necessary and reasonable costs incurred to reduce the loss, to the extent the
                   losses are reduced.

                Accounts receivable records will include accounts receivable records stored as electronic
                data.

                In the event of loss, the Insured will:

                1) use all reasonable efforts, including legal action, if necessary, to effect collection of
                   outstanding accounts receivable.

                2) reduce loss by use of any suitable property or service:

                      a) owned or controlled by the Insured; or

                      b) obtainable from other sources.

                3) reconstruct, if possible, accounts receivable records so that no shortage is sustained.

                The settlement of loss will be made within 90 days from the date of physical loss or damage.
                All amounts recovered by the Insured on outstanding accounts receivable on the date of loss
                will belong and be paid to the Company up to the amount of loss paid by the Company. All
                recoveries exceeding the amount paid will belong to the Insured.

                ACCOUNTS RECEIVABLE Exclusions: As respects ACCOUNTS RECEIVABLE, the
                following additional exclusions apply:

                This Policy does not insure against shortage resulting from:

                1) bookkeeping, accounting or billing errors or omissions; or

                2) a) alteration, falsification, manipulation; or

                      b) concealment, destruction or disposal,

                      of accounts receivable records committed to conceal the wrongful giving, taking,
                      obtaining or withholding of money, securities or other property; but only to the extent of
                      such wrongful giving, taking, obtaining or withholding.

        C.      AUTOMATIC COVERAGE

                This Policy covers insured physical loss or damage to insured property at any location
                purchased, leased or rented by the Insured after the inception date of this Policy.

                This Additional Coverage applies:


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                1) from the date of purchase, lease or rental,

                2) until the first of the following:

                      a) the location is bound by the Company.

                      b) agreement is reached that the location will not be insured under this Policy.

                      c) the time limit shown in the LIMITS OF LIABILITY clause in the
                         DECLARATIONS section has been reached. The time limit begins on the date of
                         purchase, lease or rental.

        D.      BRANDS AND LABELS

                If branded or labeled insured property is physically damaged and the Company elects to take
                all or any part of that property, the Insured may at the Company’s expense:

                1) stamp “salvage” on the property or its containers; or

                2) remove or obliterate the brands or labels,

                if doing so will not damage the property.

                The Insured must relabel such property or its containers to be in compliance with any
                applicable law.

        E.      CLAIMS PREPARATION COSTS

                This Policy covers the actual costs incurred by the Insured:

                1) of reasonable fees payable to the Insured’s: accountants, architects, auditors, engineers,
                   or other professionals; and

                2) the cost of using the Insured’s employees,

                for producing and certifying any particulars or details contained in the Insured’s books or
                documents, or such other proofs, information or evidence required by the Company resulting
                from insured loss payable under this Policy for which the Company has accepted liability.

                This Additional Coverage will not cover the fees and costs of:

                1) attorneys, public adjusters, and loss appraisers, all including any of their subsidiary,
                   related or associated entities either partially or wholly owned by them or retained by
                   them for the purpose of assisting them,

                2) loss consultants who provide consultation on coverage or negotiate claims.

                This Additional Coverage is subject to the deductible that applies to the loss.


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        F.      COINSURANCE DEFICIENCY AND CURRENCY DEVALUATION

                This Policy covers the deficiency in the amount of loss payable under the Insured’s locally
                written policy(ies), if any, and its renewals, issued by the Company or its representative
                company(ies), solely as the result of:

                1) the application of a coinsurance (or average) clause; or

                2) official government devaluation of the currency in which the local policy is written,

                for physical loss or damage of the type insured under such local policy(ies) to property of the
                type insured under this Policy.

                The Insured agrees to adjust the Policy values as a result of such devaluation within 30 days
                after the date of the currency’s devaluation.

                There is no liability under this Additional Coverage if the Insured is unable to recover any
                loss under such local policy(ies) due to intentional underinsurance by the Insured.

        G.      COMMUNICABLE DISEASE RESPONSE

                If a location owned, leased or rented by the Insured has the actual not suspected presence of
                communicable disease and access to such location is limited, restricted or prohibited by:

                1) an order of an authorized governmental agency regulating the actual not suspected
                   presence of communicable disease; or

                2) a decision of an Officer of the Insured as a result of the actual not suspected presence of
                   communicable disease,

                this Policy covers the reasonable and necessary costs incurred by the Insured at such
                location with the actual not suspected presence of communicable disease for the:

                1) cleanup, removal and disposal of the actual not suspected presence of communicable
                   diseases from insured property; and

                2) actual costs of fees payable to public relations services or actual costs of using the
                   Insured’s employees for reputation management resulting from the actual not suspected
                   presence of communicable diseases on insured property.

                This Additional Coverage will apply when access to such location is limited, restricted or
                prohibited in excess of 48 hours.

                This Additional Coverage does not cover any costs incurred due to any law or ordinance
                with which the Insured was legally obligated to comply prior to the actual not suspected
                presence of communicable disease.




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                COMMUNICABLE DISEASE RESPONSE Exclusions: As respects COMMUNICABLE
                DISEASE RESPONSE, the following additional exclusion applies:

                This Policy excludes loss or damage directly or indirectly caused by or resulting from the
                following regardless of any other cause or event, whether or not insured under this Policy,
                contributing concurrently or in any other sequence to the loss:

                1) terrorism.

        H.      CONSEQUENTIAL REDUCTION IN VALUE

                This Policy covers the reduction in value of insured merchandise that is a part of pairs, sets,
                or components, directly resulting from insured physical loss or damage to other insured parts
                of pairs, sets or components of such merchandise. If settlement is based on a constructive
                total loss, the Insured will surrender the undamaged parts of such merchandise to the
                Company.

        I.      CONTROL OF DAMAGED PROPERTY

                This Policy gives control of physically damaged property consisting of finished goods
                manufactured by or for the Insured as follows:

                1) the Insured will have full rights to the possession and control of damaged property in the
                   event of insured physical damage to such property provided proper testing is done to
                   show which property is physically damaged.

                2) the Insured using reasonable judgment will decide if the physically damaged property
                   can be reprocessed or sold.

                3) property so judged by the Insured to be unfit for reprocessing or selling will not be sold
                   or disposed of except by the Insured, or with the Insured’s consent.

                4) any salvage proceeds received will go to the:

                      a) Company at the time of loss settlement; or

                      b) Insured if received prior to loss settlement and such proceeds will reduce the amount
                         of loss payable accordingly.

        J.      DAMS AND APPURTENANT STRUCTURES

                This Policy covers insured physical loss or damage to dams and appurtenant structures at
                an insured location as described on the Dams Schedule, Appendix B.

                Application of Limits of Liability:

                1) In the event insured physical loss or damage to dams and appurtenant structures
                   results in insured physical loss or damage to other insured property, such resultant



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                      physical loss or damage shall be subject to the Limit of Liability for DAMS AND
                      APPURTENANT STRUCTURES unless a lesser limit applies.

                DAMS AND APPURTENANT STRUCTURES Exclusion: As respects DAMS AND
                APPURTENANT STRUCTURES the following additional exclusion applies:

                This Policy excludes the following, but, if physical damage not excluded by this Policy
                results, then only that resulting damage is insured:

                1) settling, cracking, shrinking, bulging or expansion of dams.

        K.      DEBRIS REMOVAL

                This Policy covers the reasonable and necessary costs incurred to remove debris from an
                insured location that remains as a direct result of insured physical loss or damage.

                This Additional Coverage does not cover the costs of removal of:

                1) contaminated uninsured property; or

                2) the contaminant in or on uninsured property,

                whether or not the contamination results from insured physical loss or damage. This
                Additional Coverage covers the costs of removal of contaminated insured property or the
                contaminant in or on insured property only if the contamination, due to the actual not
                suspected presence of contaminant(s), of the debris resulted directly from other physical
                damage not excluded by the Policy.

        L.      DECONTAMINATION COSTS

                If insured property is contaminated as a direct result of insured physical damage and there is
                in force at the time of the loss any law or ordinance regulating contamination due to the
                actual not suspected presence of contaminant(s), then this Policy covers, as a direct result of
                enforcement of such law or ordinance, the increased cost of decontamination and/or removal
                of such contaminated insured property in a manner to satisfy such law or ordinance. This
                Additional Coverage applies only to that part of insured property so contaminated due to the
                actual not suspected presence of contaminant(s) as a direct result of insured physical
                damage.

                The Company is not liable for the costs required for removing contaminated uninsured
                property or the contaminant therein or thereon, whether or not the contamination results
                from an insured event.

        M.      ERRORS AND OMISSIONS

                If physical loss or damage is not payable under this Policy solely due to an error or
                unintentional omission:

                1) in the description of where insured property is physically located;


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                2) to include any location:

                      a) owned, leased or rented by the Insured on the effective date of this Policy; or

                      b) purchased, leased or rented by the Insured during the term of this Policy; or

                3) that results in cancellation of the property insured under this Policy;

                this Policy covers such physical loss or damage, to the extent it would have provided
                coverage had such error or unintentional omission not been made.

                It is a condition of this Additional Coverage that any error or unintentional omission be
                reported by the Insured to the Company when discovered and corrected.

        N.      EXPEDITING COSTS

                This Policy covers the reasonable and necessary costs incurred:

                1) for the temporary repair of insured physical damage to insured property;

                2) for the temporary replacement of insured equipment suffering insured physical damage;
                   and

                3) to expedite the permanent repair or replacement of such damaged property.

                This Additional Coverage does not cover costs recoverable elsewhere in this Policy,
                including the cost of permanent repair or replacement of damaged property.

        O.      FINE ARTS AND VALUABLE PAPERS AND RECORDS

                This Policy covers insured physical loss or damage to fine arts and valuable papers and
                records while anywhere within this Policy’s TERRITORY, including while in transit.

                FINE ARTS AND VALUABLE PAPERS AND RECORDS Exclusions: As respects FINE
                ARTS AND VALUABLE PAPERS AND RECORDS, the following applies:

                1) the exclusions in the EXCLUSIONS clause of this section do not apply except for A1,
                   A2, A6, A7, B1, B2, B3a and B4.

                2) the following additional exclusions apply:

                      This Policy excludes:

                      a) currency, money, securities.

                      b) errors or omissions in processing or copying of valuable papers and records, but,
                         if physical damage not excluded by this Policy results, then only that resulting
                         damage is insured.


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                      c) deterioration, inherent vice, or wear and tear, but, if physical damage not excluded
                         by this Policy results, then only that resulting damage is insured.

                      d) fungus, mold or mildew unless directly resulting from other physical damage not
                         excluded by this Policy.

                      e) loss or damage to fine arts from any repairing, restoration or retouching process.

                FINE ARTS AND VALUABLE PAPERS AND RECORDS Valuation: On property covered
                under this Additional Coverage the loss amount will not exceed the lesser of the following:

                1) the cost to repair or restore such property to the physical condition that existed on the
                   date of loss.

                2) the cost to replace.

                3) the value, if any, designated for the item on the schedule on file with the Company.

                If a fine arts article is part of a pair or set, and a physically damaged article cannot be
                replaced, or repaired or restored to the condition that existed immediately prior to the loss,
                the Company will be liable for the lesser of the full value of such pair or set or the amount
                designated on the schedule. The Insured agrees to surrender the pair or set to the Company.

        P.      INSTALLMENT OR DEFERRED PAYMENTS

                This Policy covers insured physical loss or damage to personal property of the type insured
                sold by the Insured under a conditional sale or trust agreement or any installment or deferred
                payment plan and after such property has been delivered to the buyer. Coverage is limited to
                the unpaid balance for such property.

                In the event of loss to property sold under deferred payment plans, the Insured will use all
                reasonable efforts, including legal action, if necessary, to effect collection of outstanding
                amounts due or to regain possession of the property.

                There is no liability under this Policy for loss:

                1) pertaining to products recalled including, but not limited to, the costs to recall, test or to
                   advertise such recall by the Insured.

                2) from theft or conversion by the buyer of the property after the buyer has taken
                   possession of such property.

                3) to the extent the buyer continues payments.

                4) not within the TERRITORY of this Policy.

                INSTALLMENT OR DEFERRED PAYMENTS Valuation: On property covered under this
                Additional Coverage the loss amount will not exceed the lesser of the following:


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                1) total amount of unpaid installments less finance charges.

                2) actual cash value of the property at the time of loss.

                3) cost to repair or replace with material of like size, kind and quality.

        Q.      LAND AND WATER CONTAMINANT CLEANUP, REMOVAL AND
                DISPOSAL

                This Policy covers the reasonable and necessary cost for the cleanup, removal and disposal
                of the actual not suspected presence of contaminant(s) from uninsured property consisting
                of land, water or any other substance in or on land at the insured location if the release,
                discharge or dispersal of such contaminant(s) is a direct result of insured physical loss or
                damage to insured property.

                This Policy does not cover the cost to cleanup, remove and dispose of contamination from
                such property:

                1) at any location insured for Personal Property only.

                2) at any property insured under AUTOMATIC COVERAGE, ERRORS AND
                   OMISSIONS or MISCELLANEOUS PROPERTY coverage provided by this Policy.

                3) when the Insured fails to give written notice of loss to the Company within 180 days
                   after inception of the loss.

        R.      LAW AND ORDINANCE

                This Policy covers the costs as described herein resulting from the Insured’s obligation to
                comply with a law or ordinance, provided that:

                1) such law or ordinance is enforced as a direct result of insured physical loss or damage at
                   an insured location;

                2) such law or ordinance is in force at the time of such loss or damage; and

                3) such location was not required to be in compliance with such law or ordinance prior to the
                   happening of the insured physical loss or damage.

                Coverage A:

                The reasonable and necessary costs incurred by the Insured to comply with the enforcement
                of the minimum requirements of any law or ordinance that regulates the demolition,
                construction, repair, replacement or use of buildings, structures, machinery or equipment.

                As respects insured property, this Coverage A covers the reasonable and necessary costs to:




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                1) demolish any physically damaged and undamaged portions of the insured buildings,
                   structures, machinery or equipment.

                2) repair or rebuild the physically damaged and undamaged portions, whether or not
                   demolition is required, of such insured buildings, structures, machinery or equipment.

                The Company’s maximum liability for this Coverage A at each insured location in any
                occurrence will not exceed the actual costs incurred in demolishing the physically damaged
                and undamaged portions of the insured property plus the lesser of:

                1) the reasonable and necessary cost, excluding the cost of land, to rebuild on another site;
                   or

                2) the cost to rebuild on the same site.

                Coverage B:

                The reasonable estimated cost to repair, replace or rebuild insured property consisting of
                buildings, structures, machinery or equipment that the Insured is legally prohibited from
                repairing, replacing or rebuilding to the same height, floor area, number of units, configuration,
                occupancy or operating capacity, because of the enforcement of any law or ordinance that
                regulates the construction, repair, replacement or use of buildings, structures, machinery or
                equipment.

                LAW AND ORDINANCE Coverage B Valuation: On property covered under this Coverage
                B that cannot legally be repaired or replaced, the loss amount will be the difference between:

                1) the actual cash value; and

                2) the cost that would have been incurred to repair, replace or rebuild such lost or damaged
                   property had such law or ordinance not been enforced at the time of loss.

                LAW AND ORDINANCE Exclusions: As respects LAW AND ORDINANCE, the
                following additional exclusions apply:

                This Policy does not cover:

                1) any cost incurred as a direct or indirect result of enforcement of any law or ordinance
                   regulating any form of contamination.

                2) any machinery or equipment manufactured by or for the Insured, unless used by the
                   Insured in its operation at the location suffering the physical loss or damage.

        S.      LOSS PAYMENT INCREASED TAX LIABILITY

                This Policy covers the increase in tax liability as described herein incurred by the Insured.

                Coverage A:



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                The increase in tax liability from an insured loss at an insured location if the tax treatment
                of:

                1) the profit portion of a loss payment under this Policy involving finished stock
                   manufactured by the Insured; and/or

                2) the profit portion of a TIME ELEMENT loss payment under this Policy;

                is greater than the tax treatment of profits that would have been incurred had no loss
                happened.

                Coverage B:

                If loss payment under this Policy cannot be made in the country where the loss happened,
                such loss is to be paid in the currency of this Policy in a country designated by the Insured
                where such payment is legally permissible. The Insured will cooperate with the Company in
                making every reasonable effort to pay the loss or portion of it in the country in which the
                loss happened.

                The Company will pay the net amount required to offset local taxes on income with due
                consideration to any tax relief/credit that accrues because of such payment using the Formula
                described below. Such Formula will not apply if the calculation of additional payment
                results in an amount less than zero.

                The actual payment under this Additional Coverage will be adjusted and reduced by all
                appropriate tax credits and/or tax relief entitled and/or received by the Insured and/or the
                local entity where the loss happened provided that an income tax liability is incurred.

                Any payment under this Additional Coverage will be made only after completion and
                acceptance by the Company of audited tax returns for the period in question for both the
                country where a payment under this Additional Coverage is made and the country where the
                loss happened.

                Formula:

                Additional Payment =                [a (1 - c) / (1 - b)] - a

                Where:
                a = loss otherwise payable under this Policy except for operation of this coverage, after due
                    consideration for any applicable deductible(s).
                b = the net effective rate of the sum of: any taxation (a positive number) plus any tax
                    relief/credit (a negative number) that accrues in the country where loss payments are
                    received.
                c = the net effective rate of the sum of: any taxation (a positive number) plus any tax
                    relief/credit (a negative number) that accrues in the country where the loss happened.

                The rates referred to will be the respective corporate income tax rates in effect on the date of
                the loss.



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        T.      MACHINERY OR EQUIPMENT STARTUP OPTION

                After insured machinery or equipment that has sustained insured physical loss or damage is
                repaired or replaced and such machinery or equipment is undergoing startup, the following
                applies:

                If physical loss or damage of the type insured directly results to such machinery or
                equipment from such startup, the Insured shall have the option of claiming such resulting
                insured damage as part of the original event of physical loss or damage or as a separate
                occurrence.

                This Additional Coverage applies only:

                1) to the first startup event after the original repair or replacement; and

                2) when the first startup event happens during the term of this Policy or its renewal issued
                   by the Company.

                For the purposes of this Additional Coverage, startup means:

                1) the introduction into machinery or equipment of feedstock or other materials for
                   processing or handling;

                2) the commencement of fuel or energy supply to machinery or equipment.

        U.      MISCELLANEOUS PROPERTY

                This Policy covers insured physical loss or damage to:

                1) insured property;

                2) property of the type insured that is under contract to be used in a construction project at
                   an insured location:

                      a) from the time such property is delivered to the Insured or their contractor (with
                         respect to the property under construction) by the manufacturer or supplier;

                      b) while such property is located at a storage site; and

                      c) while such property is in transit from a storage site to another storage site or to a
                         construction project at an insured location,

                      that does not include any such property owned or rented by the contractor;

                while anywhere within this Policy’s TERRITORY, including while in transit.

                This Additional Coverage excludes property covered elsewhere in this Policy.




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                MISCELLANEOUS PROPERTY Exclusions: As respects MISCELLANEOUS
                PROPERTY, the following additional exclusions apply:

                1) This Policy excludes:

                      a) transmission and distribution systems not at a location.

                      b) property insured under import or export ocean marine insurance.

                      c) property shipped between continents.

                      d) airborne shipments unless by regularly scheduled passenger airlines or air freight
                         carriers.

                      e) property of others, including the Insured's legal liability for it, hauled on vehicles
                         owned, leased or operated by the Insured when acting as a common or contract
                         carrier.

                 2) This Policy excludes loss or damage directly or indirectly caused by or resulting from
                    the following regardless of any other cause or event, whether or not insured under this
                    Policy, contributing concurrently or in any other sequence to the loss:

                      a) earth movement for property located in the New Madrid Seismic Zone or in the
                         Pacific Northwest Seismic Zone.

        V.      NEIGHBOUR’S RECOURSE AND TENANT’S LIABILITY

                As respects insured locations in France, the French Territories, Spain, Italy, Belgium,
                Greece, Portugal or Luxembourg:

                This Policy covers the Insured’s liability:

                1) as a tenant or occupant under the articles of any civil or commercial code toward the
                   owner for direct physical damage of the type insured to real or personal property of the
                   type insured of the owner of the premises.

                2) under articles of any civil or commercial code toward neighbours, co-tenants and other
                   third parties for direct physical damage of the type insured to real or personal property
                   of the type insured of neighbours, co-tenants and other third parties.

                3) as landlord under articles of any civil or commercial code for direct physical damage of
                   the type insured to personal property of the type insured of tenants as a result of
                   construction defects or lack of maintenance.

                4) as tenant or occupant under the articles of any civil or commercial code for total or
                   partial loss of use by the owner of the premises resulting from direct physical damage of
                   the type insured.




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        W.      OPERATIONAL TESTING

                This Policy covers insured physical loss or damage to insured property during the period of
                operational testing.

                This Additional Coverage excludes property, including stock or material, manufactured or
                processed by the Insured.

        X.      PROTECTION AND PRESERVATION OF PROPERTY

                This Policy covers:

                1) reasonable and necessary costs incurred for actions to temporarily protect or preserve
                   insured property; provided such actions are necessary due to actual, or to prevent
                   immediately impending, insured physical loss or damage to such insured property.

                2) reasonable and necessary:

                      a) fire department firefighting charges imposed as a result of responding to a fire in, on
                         or exposing the insured property.

                      b) costs incurred of restoring and recharging fire protection systems following an
                         insured loss.

                      c) costs incurred for the water used for fighting a fire in, on or exposing the insured
                         property.

                This Additional Coverage does not cover costs incurred for actions to temporarily protect or
                preserve insured property from actual, or to prevent immediately impending, physical loss or
                damage covered by TERRORISM coverage as provided in this section of the Policy.

                This Additional Coverage is subject to the deductible provisions that would have applied had
                the physical loss or damage happened.

        Y.      RESEARCH ANIMALS

                This Policy covers insured physical loss or damage to animals used for research.

                RESEARCH ANIMALS Exclusions: As respects RESEARCH ANIMALS, the following
                additional exclusions apply:

                This Policy excludes the following unless directly resulting from other physical damage not
                excluded by this Policy:

                1) death, destruction, or injury from natural causes.

                2) escape.

                3) sickness, disease, infection, infestation or illness.


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                4) error or omission in processing and/or failure on the part of the Insured to provide
                   nourishment, medicine or sanitary conditions.

                5) contamination of animals, food or medicine.

                RESEARCH ANIMALS Valuation: On property covered under this Additional Coverage
                the loss amount will not exceed:

                1) the purchase price of commercially available laboratory animals, not including any costs
                   associated with research, engineering or scientific study/data.

        Z.      SERVICE INTERRUPTION PROPERTY DAMAGE

                This Policy covers insured physical loss or damage to insured property at an insured
                location when such physical loss or damage results from the interruption of incoming
                services consisting of electricity, gas, fuel, steam, water, refrigeration or from the lack of
                outgoing sewerage service by reason of any accidental event at the facilities of the supplier
                of such service located within this Policy’s TERRITORY, that immediately prevents in
                whole or in part the delivery of such usable service.

                This Additional Coverage will apply when the period of service interruption as described
                below is in excess of 24 hours.

                The period of service interruption is the period starting with the time when an interruption of
                specified services happens; and ending when with due diligence and dispatch the service
                could be wholly restored.

                Additional General Provisions:

                1) The Insured will immediately notify the suppliers of services of any interruption of such
                   services.

                2) The Company will not be liable if the interruption of such services is caused directly or
                   indirectly by the failure of the Insured to comply with the terms and conditions of any
                   contracts the Insured has for the supply of such specified services.

                SERVICE INTERRUPTION PROPERTY DAMAGE Exclusions: As respects SERVICE
                INTERRUPTION PROPERTY DAMAGE, the following applies:

                1) The exclusions in the EXCLUSIONS clause in this section do not apply except for:

                      a) A1, A2, A3, A6, B1, B2, and

                      b) B4 with respect to incoming or outgoing voice, data or video, and

                      c) D1 except with respect to fungus, mold or mildew.

                2) The following additional exclusions apply:


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                      This Policy excludes loss or damage directly or indirectly caused by or resulting from
                      the following regardless of any other cause or event, whether or not insured under this
                      Policy, contributing concurrently or in any other sequence to the loss:

                      a) earth movement for property located in the New Madrid Seismic Zone or in the
                         Pacific Northwest Seismic Zone.

                      b) terrorism.

        AA. TEMPORARY REMOVAL OF PROPERTY

                When insured property is removed from an insured location for the purpose of being
                repaired or serviced or in order to avoid threatened physical loss or damage of the type
                insured by this Policy, this Policy covers such property:

                1) while at the premises to which such property has been moved; and

                2) for physical loss or damage as provided at the insured location from which such
                   property was removed.

                This Additional Coverage does not apply to property:

                1) insured, in whole or in part, elsewhere in this Policy.

                2) insured, in whole or in part, by any other insurance policy.

                3) removed for normal storage, processing or preparation for sale or delivery.

        BB. TERRORISM

                This Policy covers physical loss or damage to property as described in the INSURANCE
                PROVIDED provision caused by or resulting from terrorism.

                Any act which satisfies the definition of terrorism shall not be considered to be vandalism,
                malicious mischief, riot, civil commotion, or any other risk of physical loss or damage
                covered elsewhere in this Policy.

                Amounts recoverable under this Additional Coverage are excluded from coverage elsewhere
                in this Policy.

                This Additional Coverage does not cover loss or damage which also comes within the terms
                of either item B2a or B2c of the EXCLUSIONS clause in this section of the Policy.

                This Additional Coverage does not in any event cover loss or damage directly or indirectly
                caused by or resulting from any of the following, regardless of any other cause or event,
                whether or not insured under this Policy contributing concurrently or in any other sequence
                to the loss:



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                1) that involves the use, release or escape of nuclear materials, or that directly or indirectly
                   results in nuclear reaction or radiation or radioactive contamination or that involves the
                   discharge, explosion or use of any nuclear device, weapon or material employing or
                   involving nuclear fission, fusion, or radioactive force, whether in time of peace or war
                   and regardless of who commits the act; or

                2) that is carried out by means of the dispersal or application of pathogenic or poisonous
                   biological or chemical materials; or

                3) in which pathogenic or poisonous biological or chemical materials are released, and it
                   appears that one purpose of the terrorism was to release such materials; or

                4) that involves action taken to prevent, defend against, respond to or retaliate against
                   terrorism or suspected terrorism.

        CC. TRANSPORTATION

                This Policy covers the following personal property, except as excluded by this Policy, while
                in transit within the TERRITORY of this Policy:

                1) owned by the Insured.

                2) shipped to customers under F.O.B., C & F or similar terms. The Insured’s contingent
                   interest in such shipments is admitted.

                3) of others in the actual or constructive custody of the Insured to the extent of the
                   Insured’s interest or legal liability.

                4) of others sold by the Insured, that the Insured has agreed prior to the loss to insure
                   during course of delivery including:

                      a) when shipped by the Insured’s direct contract service provider or by the Insured’s
                         direct contract manufacturer to the Insured or to the Insured’s customer.

                      b) when shipped by the Insured’s customer to the Insured or to the Insured’s contract
                         service provider or to the Insured’s contract manufacturer.

                Coverage Attachment and Duration:

                1) This Additional Coverage covers from the time the property leaves the original point of
                   shipment for transit. It then covers continuously in the due course of transit:

                      a) within the continent in which the shipment commences until the property arrives at
                         the destination within such continent; or

                      b) between Europe and Asia, for land or air shipments only, from when the shipment
                         commences until the property arrives at the destination.




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                2) However, coverage on export shipments not insured under ocean cargo policies ends
                   when the property is loaded on board overseas vessels or aircraft. Coverage on import
                   shipments not insured under ocean cargo policies begins after discharge from overseas
                   vessels or aircraft.

                This Additional Coverage:

                1) covers general average and salvage charges on shipments covered while waterborne.

                2) insures physical loss or damage caused by or resulting from:

                      a) unintentional acceptance of fraudulent bills of lading, shipping or messenger
                         receipts.

                      b) improper parties having gained possession of property through fraud or deceit.

                Additional General Provisions:

                1) This Additional Coverage will not inure directly or indirectly to the benefit of any
                   carrier or bailee.

                2) The Insured has permission, without prejudicing this insurance, to accept:

                      a) ordinary bills of lading used by carriers;

                      b) released bills of lading;

                      c) undervalued bills of lading; and

                      d) shipping or messenger receipts.

                3) The Insured may waive subrogation against railroads under side track agreements.

                Except as otherwise stated, the Insured will not enter into any special agreement with
                carriers releasing them from their common law or statutory liability.

                TRANSPORTATION Exclusions: As respects TRANSPORTATION, the following applies:

                1) the exclusions in the EXCLUSIONS clause of this section do not apply except for A1
                   through A4, B1 through B4, C1, C3, C5, C6, D1 through D3.

                2) the following additional exclusions apply:

                      This Policy excludes:

                      a) samples in the custody of salespeople or selling agents.

                      b) property insured under import or export ocean marine insurance.



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                      c) waterborne shipments, unless:

                           (i) by inland water; or

                           (ii) by roll-on/roll-off ferries operating between European ports; or

                           (iii) by coastal shipments.

                      d) airborne shipments unless by regularly scheduled passenger airlines or air freight
                         carriers.

                      e) property of others, including the Insured’s legal liability for it, hauled on vehicles
                         owned, leased or operated by the Insured when acting as a common or contract
                         carrier.

                      f) any transporting vehicle.

                      g) property shipped between continents, except by land or air between Europe and
                         Asia.

                TRANSPORTATION Valuation: On property covered under this Additional Coverage the
                loss amount will not exceed:

                1) Property shipped to or for the account of the Insured will be valued at actual invoice to
                   the Insured. Included in the value are accrued costs and charges legally due. Charges
                   may include the Insured’s commission as selling agent.

                2) Property sold by the Insured and shipped to or for the purchaser’s account will be valued
                   at the Insured’s selling invoice amount. Prepaid or advanced freight costs are included.

                3) Property not under invoice will be valued:

                      a) for property of the Insured, at the valuation provisions of this Policy applying at the
                         place from which the property is being transported; or

                      b) for other property, at the actual cash market value at the destination point on the date
                         of loss,

                      less any charges saved which would have become due and payable upon arrival at
                      destination.




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                                                      TIME ELEMENT

        TIME ELEMENT loss as provided in the TIME ELEMENT COVERAGES and TIME ELEMENT
        COVERAGE EXTENSIONS of this section of the Policy:

        A.      is subject to the applicable limit of liability that applies to the insured physical loss or
                damage but in no event for more than any limit of liability that is stated as applying to the
                specific TIME ELEMENT COVERAGE and/or TIME ELEMENT COVERAGE
                EXTENSION; and

        B.      will not increase the Policy limit of liability; and

        C.      is subject to the Policy provisions, including applicable exclusions and deductibles,

        all as shown in this section and elsewhere in this Policy.

1.      LOSS INSURED

        A.      This Policy insures TIME ELEMENT loss, as provided in the TIME ELEMENT
                COVERAGES, directly resulting from physical loss or damage of the type insured:

                1) to property described elsewhere in this Policy and not otherwise excluded by this Policy
                   or otherwise limited in the TIME ELEMENT COVERAGES below;

                2) used by the Insured, or for which the Insured has contracted use;

                3) while located as described in the INSURANCE PROVIDED provision or within 1,000
                   feet/300 metres thereof, or as described in the TEMPORARY REMOVAL OF
                   PROPERTY provision; or

                4) while in transit as provided by this Policy, and

                5) during the Periods of Liability described in this section,

                provided such loss or damage is not at a contingent time element location.

        B.      This Policy insures TIME ELEMENT loss only to the extent it cannot be reduced through:

                1) the use of any property or service owned or controlled by the Insured;

                2) the use of any property or service obtainable from other sources;

                3) working extra time or overtime; or

                4) the use of inventory,

                all whether at an insured location or at any other premises. The Company reserves the right
                to take into consideration the combined operating results of all associated, affiliated or
                subsidiary companies of the Insured in determining the TIME ELEMENT loss.


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        C.      This Policy covers expenses reasonably and necessarily incurred by the Insured to reduce the
                loss otherwise payable under this section of this Policy. The amount of such recoverable
                expenses will not exceed the amount by which the loss has been reduced.

        D.      In determining the amount of loss payable, the Company will consider the experience of the
                business before and after and the probable experience during the PERIOD OF LIABILITY.
                The probable experience will consider any increase or decrease in demand for the Insured’s
                goods or services during the PERIOD OF LIABILITY, even if such increase or decrease is
                from the same event that caused physical loss or damage starting the PERIOD OF
                LIABILITY.

2.      TIME ELEMENT COVERAGES

        A.      INSURED OPTION

                The Insured has the option to make claim based on either

                a) GROSS EARNINGS and EXTENDED PERIOD OF LIABILITY; or

                b) GROSS PROFIT; or

                c) TUITION FEES,

                as described in the TIME ELEMENT section of this Policy and subject to the applicable
                terms and conditions as may be shown elsewhere.

                Such option may be exercised at any time prior to the conditions set forth in the
                SETTLEMENT OF CLAIMS clause in the LOSS ADJUSTMENT AND SETTLEMENT
                section of this Policy.

                If such claim involves more than one insured location, including interdependency at one or
                more insured locations, such claim will be adjusted by using the single coverage option
                chosen above.

        B.      GROSS EARNINGS

                Measurement of Loss:

                1) The recoverable GROSS EARNINGS loss is the Actual Loss Sustained by the Insured
                   of the following during the PERIOD OF LIABILITY:

                      a) Gross Earnings;

                      b) less all charges and expenses that do not necessarily continue during the interruption
                         of production or suspension of business operations or services;

                      c) less ordinary payroll; and



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                      d) plus all other earnings derived from the operation of the business.

                      e) Ordinary Payroll, including taxes and charges dependent on the payment of wages:

                           (i) for a period of time of not more than the number of consecutive days shown in
                               the LIMITS OF LIABILITY clause of the DECLARATIONS section
                               immediately following the interruption of production or suspension of business
                               operations or services, and

                           (ii) only to the extent such payroll continues following the loss and would have been
                                earned had no such interruption happened.

                           However, if an Insured reduces the daily loss payable under Ordinary Payroll, either
                           by:

                           (i) providing gainful employment for, or

                           (ii) paying less than the normal salary rate to,

                           all or part of its employees, then the number of consecutive days of Ordinary Payroll
                           may be extended. However, this provision will not increase the total liability of this
                           Company beyond the amount it would have been liable for Ordinary Payroll costs
                           without this provision. Ordinary Payroll does not cover any portion of salaries or
                           wages included in Gross Earnings.

                2) For the purposes of the Measurement of Loss, Gross Earnings is:

                      for manufacturing operations: the net sales value of production less the cost of all raw
                      stock, materials and supplies used in such production; or

                      for mercantile or non-manufacturing operations: the total net sales less cost of
                      merchandise sold, materials and supplies consumed in the operations or services
                      rendered by the Insured.

                      Any amount recovered under property damage coverage at selling price will be
                      considered to have been sold to the Insured’s regular customers and will be credited
                      against net sales.

                3) In determining the indemnity payable as the Actual Loss Sustained, the Company will
                   consider the continuation of only those normal charges and expenses that would have
                   been earned had there been no interruption of production or suspension of business
                   operations or services.

                4) If the Insured would have operated at a deficit had no interruption of production or
                   suspension of business operations or services happened, the following applies:

                      a) for Gross Earnings, the extent to which charges and expenses would have been
                         earned will be determined by subtracting the operating deficits from the charges and
                         expenses that necessarily continue.


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                      b) for Ordinary Payroll, the extent payroll would have been earned will be determined
                         by subtracting the excess, if any, of the operating deficit over the fixed charges that
                         need to continue from such payroll.

                5) There is recovery hereunder to the extent that the Insured is:

                      a) wholly or partially prevented from producing goods or continuing business
                         operations or services;

                      b) unable to make up lost production within a reasonable period of time, not limited to
                         the period during which production is interrupted;

                      c) unable to continue such operations or services during the PERIOD OF LIABILITY;
                         and

                      d) able to demonstrate a loss of sales for the operations, services or production
                         prevented.

        C.      GROSS PROFIT

                Measurement of Loss:

                1) The recoverable GROSS PROFIT loss is the Actual Loss Sustained by the Insured of the
                   following due to the necessary interruption of business during the PERIOD OF
                   LIABILITY: a) Reduction in Sales, b) Ordinary Payroll and c) Increase in Cost of Doing
                   Business. The amount payable as indemnity hereunder will be:

                      a) with respect to Reduction in Sales: The sum produced by applying the Rate of Gross
                         Profit to the amount by which the sales during the PERIOD OF LIABILITY will fall
                         short of the Standard Sales. In determining the Reduction in Sales, any amount
                         recovered under property damage coverage at selling price will be credited against
                         lost sales.

                      b) Ordinary Payroll, including taxes and charges dependent on the payment of wages,
                         during the PERIOD OF LIABILITY only to the extent such payroll would have
                         been earned had such loss not happened.

                           However, if an Insured reduces the daily loss payable under Ordinary Payroll, either
                           by:

                           (i) providing gainful employment for, or

                           (ii) paying less than the normal salary rate to,

                           all or part of its employees, the number of consecutive days of Ordinary Payroll may
                           be extended. This provision will not increase the total liability of this Company
                           beyond the amount it would have been liable for Ordinary Payroll costs without this



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                           provision. Ordinary Payroll does not cover any portion of salaries or wages
                           included in Net Profit or fixed charges.

                      c) with respect to Increase in Cost of Doing Business:

                           (i) the additional expenditure necessarily and reasonably incurred for the sole
                               purpose of avoiding or diminishing the reduction in sales and a loss of Ordinary
                               Payroll which, but for that expenditure, would have taken place during the
                               PERIOD OF LIABILITY; but

                           (ii) not exceeding the sum produced by applying the Rate of Gross Profit to the
                                amount of the reduction thereby avoided,

                      all less any sum saved during the PERIOD OF LIABILITY with respect to such of the
                      Insured Fixed Charges as may cease or be reduced because of such interruption of
                      business.

                2) For the purposes of the Measurement of Loss:

                      Gross Profit is:

                      The amount produced by adding to the Net Profit the amount of the Insured Fixed
                      Charges, or if there be no Net Profit the amount of the Insured Fixed Charges less that
                      proportion of any loss from business operations as the amount of the Insured Fixed
                      Charges bears to all fixed charges.

                      Net Profit is:

                      The net operating profit (exclusive of all capital receipts and accruals and all outlay
                      properly chargeable to capital) resulting from the business of the Insured at the insured
                      locations after due provision has been made for all fixed charges and other expenses
                      including depreciation but before the deduction of any taxes on profits.

                      Insured Fixed Charges is:

                      All fixed charges unless specifically excluded herein. Ordinary Payroll is not an Insured
                      Fixed Charge.

                      Sales is:

                      The money paid or payable to the Insured for goods sold and delivered and for services
                      rendered in the conduct of the business at an insured location.

                      Rate of Gross Profit is:

                      The rate of Gross Profit earned on the sales during the twelve full calendar months
                      immediately before the date of the physical loss or damage to the described property.

                      Standard Sales is:


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                      The sales during that period in the twelve months immediately before the date of the
                      physical loss or damage to the described property which corresponds with the PERIOD
                      OF LIABILITY.

                3) In determining the indemnity payable as the Actual Loss Sustained:

                      a) if any fixed charges of the business are not insured hereunder, then, in computing
                         the amount recoverable hereunder as Increase in Cost of Doing Business, that
                         proportion only of the additional expenditure will be recoverable hereunder which
                         the sum of the Net Profit and the Insured Fixed Charges bears to the sum of the Net
                         Profit and all the fixed charges excluding Ordinary Payroll.

                      b) if during the PERIOD OF LIABILITY goods will be sold or services will be
                         rendered elsewhere than at the insured locations for the benefit of the business,
                         either by the Insured or by others on the Insured’s behalf, the money paid or payable
                         in respect of such sales or services will be included in arriving at the amount of sales
                         during the PERIOD OF LIABILITY.

                4) The Insured will act with due diligence and dispatch in repairing or replacing physically
                   damaged buildings and equipment to the same or equivalent physical and operating
                   conditions that existed prior to the damage; and take whatever actions are necessary and
                   reasonable to minimize the loss payable hereunder.

                GROSS PROFIT Exclusions: As respects GROSS PROFIT, the TIME ELEMENT
                EXCLUSIONS B and C of this section do not apply and the following applies instead:

                This Policy does not insure against any increase in loss due to damages for breach of
                contract or for late or noncompletion of orders, or fines or penalties of any nature except
                fines or penalties for breach of contract or for late or noncompletion of orders.

                Coverage under GROSS PROFIT for the reduction in sales due to contract cancellation will
                include only those sales that would have been earned under the contract during the PERIOD
                OF LIABILITY.

        D.      TUITION FEES

                Measurement of Loss:

                1) The recoverable TUITION FEES loss is the Actual Loss Sustained by the Insured of the
                   following during the PERIOD OF LIABILITY:

                      a) tuition fees which are prevented from being earned or received.

                      b) other income derived from:

                           (i) routine and special services.

                           (ii) other operating and non-operating revenues, including but not limited to:


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                                (a) research grants.

                                (b) income under research contracts all dependent on continued operations.

                      c) less cost of goods, supplies or services sold or purchased which do not continue
                         under contract.

                      d) Ordinary Payroll, including taxes and charges dependent on the payment of wages:

                           (i) for a period of time of not more than the number of consecutive days shown in
                               the LIMITS OF LIABILITY clause of the DECLARATIONS section
                               immediately following the interruption of production or suspension of business
                               operations or services, and

                           (ii) only to the extent such payroll continues following the loss and would have been
                                earned had no such interruption happened.

                           However, if an Insured reduces the daily loss payable under Ordinary Payroll, either
                           by:

                           (i) providing gainful employment for, or

                           (ii) paying less than the normal salary rate to,

                           all or part of its employees, then the number of consecutive days of Ordinary Payroll
                           may be extended. However, this provision will not increase the total liability of this
                           Company beyond the amount it would have been liable for Ordinary Payroll costs
                           without this provision.

                2) In determining the indemnity payable as the Actual Loss Sustained, the Company will
                   consider the continuation of only those normal charges and expenses that would have
                   been earned had there been no interruption of production or suspension of business
                   operations or services.

                3) There is recovery hereunder to the extent that the Insured is:

                      a) wholly or partially prevented from producing goods or continuing business
                         operations or services;

                      b) unable to make up lost production within a reasonable period of time, not limited to
                         the period during which production is interrupted;

                      c) unable to continue such operations or services during the PERIOD OF LIABILITY;
                         and

                      d) able to demonstrate a loss of revenue for the operations, services or production
                         prevented.



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                TUITION FEES Exclusions: As respects TUITION FEES, TIME ELEMENT
                EXCLUSIONS C of this section does not apply and the following applies instead:

                Any loss of proceeds from fund raising drives or solicitations.

        E.      EXTRA EXPENSE

                Measurement of Loss:

                The recoverable EXTRA EXPENSE loss will be the reasonable and necessary extra costs
                incurred by the Insured of the following during the PERIOD OF LIABILITY:

                1) extra expenses to temporarily continue as nearly normal as practicable the conduct of
                   the Insured’s business;

                2) extra costs of temporarily using property or facilities of the Insured or others; and

                3) costs to purchase finished goods from third parties to fulfill orders when such orders
                   cannot be met due to physical loss or damage to the Insured’s finished goods, less
                   payment received for the sale of such finished goods.

                less any value remaining at the end of the PERIOD OF LIABILITY for property obtained in
                connection with the above.

                If the Insured makes claim in accordance with the terms and conditions of the INSURED
                OPTION clause, the PERIOD OF LIABILITY for EXTRA EXPENSE coverage will be the
                PERIOD OF LIABILITY applicable to the Time Element coverage option selected.

                EXTRA EXPENSE Exclusions: As respects EXTRA EXPENSE, the following applies:

                1) TIME ELEMENT EXCLUSIONS C does not apply to item 3 above.

                2) The following additional exclusions apply:

                      This Policy does not insure:

                      a) any loss of income.

                      b) costs that usually would have been incurred in conducting the business during the
                         same period had no physical loss or damage happened.

                      c) costs of permanent repair or replacement of property that has been damaged or
                         destroyed. However, this exclusion does not apply to item 3 above.

                      d) any expense recoverable elsewhere in this Policy.

        F.      LEASEHOLD INTEREST

                Measurement of Loss:


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                The recoverable LEASEHOLD INTEREST incurred by the Insured of the following:

                1) If the lease agreement requires continuation of rent; and if the property is wholly
                   untenantable or unusable, the actual rent payable for the unexpired term of the lease; or
                   if the property is partially untenantable or unusable, the proportion of the rent payable
                   for the unexpired term of the lease.

                2) If the lease is cancelled by the lessor pursuant to the lease agreement or by the operation
                   of law; the Lease Interest for the first three months following the loss; and the Net Lease
                   Interest for the remaining unexpired term of the lease.

                3) As used above, the following terms mean:

                      Net Lease Interest:
                      That sum which placed at 6% interest rate compounded annually would equal the Lease
                      Interest (less any amounts otherwise payable hereunder).

                      Lease Interest:
                      The excess rent paid for the same or similar replacement property over actual rent
                      payable plus cash bonuses or advance rent paid (including maintenance or operating
                      charges) for each month during the unexpired term of the Insured’s lease.

                LEASEHOLD INTEREST Exclusions: As respects LEASEHOLD INTEREST, the
                following applies:

                1) This Policy does not insure loss directly resulting from physical loss or damage to
                   Personal Property.

                2) TIME ELEMENT EXCLUSIONS A, B and C do not apply and the following applies
                   instead:

                      This Policy does not insure any increase in loss resulting from the suspension, lapse or
                      cancellation of any license, or from the Insured exercising an option to cancel the lease;
                      or from any act or omission of the Insured that constitutes a default under the lease.

        G.      RENTAL INSURANCE

                Measurement of Loss:

                The recoverable RENTAL INSURANCE loss is the Actual Loss Sustained by the Insured of
                the following during the PERIOD OF LIABILITY:

                1) the fair rental value of any portion of the property occupied by the Insured;

                2) the income reasonably expected from rentals of unoccupied or unrented portions of such
                   property; and




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                3) the rental income from the rented portions of such property according to bona fide
                   leases, contracts or agreements in force at the time of loss,

                all not to include noncontinuing charges and expenses.

                RENTAL INSURANCE Exclusions: As respects RENTAL INSURANCE, TIME
                ELEMENT EXCLUSIONS A does not apply and the following applies instead:

                This Policy does not insure any loss of rental income during any period in which the insured
                property would not have been tenantable for any reason other than an insured loss.

3.      PERIOD OF LIABILITY

        A.      The PERIOD OF LIABILITY applying to all TIME ELEMENT COVERAGES, except
                GROSS PROFIT, TUITION FEES and LEASEHOLD INTEREST and as shown below or if
                otherwise provided under any TIME ELEMENT COVERAGE EXTENSION, and subject to
                any Time Limit provided in the LIMITS OF LIABILITY clause in the DECLARATIONS
                section, is as follows:

                1) For building and equipment, the period:

                      a) starting from the time of physical loss or damage of the type insured; and

                      b) ending when with due diligence and dispatch the building and equipment could be:

                           (i) repaired or replaced; and

                           (ii) made ready for operations,

                           under the same or equivalent physical and operating conditions that existed prior to
                           the damage.

                      c) not to be limited by the expiration of this Policy.

                2) For building and equipment under construction:

                      a) the equivalent of the above period of time will be applied to the level of business
                         that would have been reasonably achieved after construction and startup would have
                         been completed had no physical damage happened; and

                      b) due consideration will be given to the actual experience of the business compiled
                         after completion of the construction and startup.

                3) For stock-in-process and mercantile stock, including finished goods not manufactured
                   by the Insured, the time required with the exercise of due diligence and dispatch:

                      a) to restore stock in process to the same state of manufacture in which it stood at the
                         inception of the interruption of production or suspension of business operations or
                         services; and


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                      b) to replace physically damaged mercantile stock.

                      This item does not apply to RENTAL INSURANCE.

                4) For raw materials and supplies, the period of time:

                      a) of actual interruption of production or suspension of operations or services resulting
                         from the inability to get suitable raw materials and supplies to replace similar ones
                         damaged; but

                      b) limited to that period for which the damaged raw materials and supplies would have
                         supplied operating needs.

                5) If water:

                      a) used for any manufacturing purpose, including but not limited to as a raw material or
                         for power;

                      b) stored behind dams or in reservoirs; and

                      c) on any insured location,

                      is released as the result of physical damage of the type insured to such dam, reservoir or
                      connected equipment, the Company's liability for the actual interruption of production or
                      suspension of operations or services due to inadequate water supply will not extend
                      beyond 30 consecutive days after the damaged dam, reservoir or connected equipment
                      has been repaired or replaced.

                      This item does not apply to RENTAL INSURANCE.

                6) For physically damaged exposed films, records, manuscripts and drawings, the time
                   required to copy from backups or from originals of a previous generation. This time
                   does not include research, engineering or any other time necessary to restore or recreate
                   lost information.

                      This item does not apply to RENTAL INSURANCE.

                7) For physically damaged or destroyed property covered under DATA, PROGRAMS OR
                   SOFTWARE, the time to recreate or restore including the time for researching or
                   engineering lost information.

                      This item does not apply to RENTAL INSURANCE.

        B.      The PERIOD OF LIABILITY applying to GROSS PROFIT is as follows:

                1) The period:

                      a) starting from the time of physical loss or damage of the type insured; and


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                      b) ending not later than the period of time shown in the LIMITS OF LIABILITY
                         clause of the DECLARATIONS section,

                      during which period the results of the business shall be directly affected by such
                      damage.

                      c) not to be limited by the expiration of this Policy.

                2) For property under construction, the period:

                      a) starting on the date that production, business operation or service would have
                         commenced if physical damage of the type insured had not happened; and

                      b) ending not later than the period of time shown in the LIMITS OF LIABILITY
                         clause of the DECLARATIONS section,

                      during which period the results of the business shall be directly affected by such
                      damage.

                      c) not to be limited by the expiration of this Policy.

                      The Rate of Gross Profit and Standard Sales will be based on the experience of the
                      business after construction is completed and the probable experience during the
                      PERIOD OF LIABILITY.

        C.      The PERIOD OF LIABILITY applying to TUITION FEES is as follows:

                1) For building and equipment, the period:

                      a) starting from the time of physical loss or damage of the type insured; and

                      b) ending the day before the beginning of the school period immediately following the
                         time when with due diligence and dispatch the building and equipment could be:

                           (i) repaired or replaced; and

                           (ii) made ready for operations,

                           under the same or equivalent physical and operating conditions that existed prior to
                           the damage.

                      c) not to be limited by the expiration of this Policy.

                      d) however, when the period of repairing or replacing damaged building and equipment
                         ends within 30 days immediately preceding the beginning of the first school period
                         specified the PERIOD OF LIABILITY is extended to end on the day before the
                         beginning of the second school period.



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                2) For building and equipment under construction:

                      a) the equivalent of the above period of time will be applied to the level of business
                         that would have been reasonably achieved after construction and startup would have
                         been completed had no physical damage happened; and

                      b) due consideration will be given to the actual experience of the business compiled
                         after completion of the construction and startup.

                3) For raw materials and supplies, the period of time:

                      a) of actual interruption of production or suspension of operations or services resulting
                         from the inability to get suitable raw materials and supplies to replace similar ones
                         damaged; but

                      b) limited to that period for which the damaged raw materials and supplies would have
                         supplied operating needs.

                4) For work-in-process, the time required with the exercise of due diligence and dispatch to
                   restore work in process to the same state in which it stood at the inception of the
                   interruption or suspension of business operations or services.

                5) For physically damaged exposed films, records, manuscripts and drawings, the time
                   required to copy from backups or from originals of a previous generation. This time
                   does not include research, engineering or any other time necessary to restore or recreate
                   lost information.

                6) For physically damaged or destroyed property covered under DATA, PROGRAMS OR
                   SOFTWARE, the time to recreate or restore including the time for researching or
                   engineering lost information.

        D.      The PERIOD OF LIABILITY does not include any additional time due to the Insured's
                inability to resume operations for any reason, including but not limited to:

                1) making changes to the buildings, structures, machinery or equipment except as provided
                   in the LAW AND ORDINANCE clause in the PROPERTY DAMAGE section.

                2) restaffing or retraining employees. However, this item does not apply to additional time
                   needed to train staff to use new machinery or equipment that replaces machinery or
                   equipment that suffered insured physical loss or damage, provided such training is
                   completed within 90 consecutive days after the new machinery or equipment has been
                   installed.

                If two or more Periods of Liability apply such periods will not be cumulative.




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4.      TIME ELEMENT EXCLUSIONS

        In addition to the exclusions elsewhere in this Policy, the following exclusions apply to TIME
        ELEMENT loss:

        This Policy does not insure:

        A.      Any loss during any idle period, including but not limited to when production, operation,
                service or delivery or receipt of goods would cease, or would not have taken place or would
                have been prevented due to:

                1) physical loss or damage not insured by this Policy on or off of the insured location.

                2) planned or rescheduled shutdown.

                3) strikes or other work stoppage.

                4) any other reason other than physical loss or damage insured under this Policy.

        B.      Any increase in loss due to:

                1) suspension, cancellation or lapse of any lease, contract, license or orders.

                2) damages for breach of contract or for late or noncompletion of orders.

                3) fines or penalties of any nature except fines or penalties for breach of contract or for late
                   or noncompletion of orders.

                4) any other consequential or remote loss.

        C.      Any loss resulting from physical loss or damage to finished goods manufactured by the
                Insured, or the time required for their reproduction.

        D.      Any loss resulting from the actual cash value portion of direct physical loss or damage by
                fire caused by or resulting from terrorism.

        E.      Any loss resulting from RESEARCH ANIMALS coverage of this Policy.

5.      TIME ELEMENT COVERAGE EXTENSIONS

        This Policy also insures TIME ELEMENT loss, as provided by the TIME ELEMENT
        COVERAGES of this Policy, for the TIME ELEMENT COVERAGE EXTENSIONS described
        below.




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        CYBER TIME ELEMENT COVERAGE EXTENSIONS

        A.      COMPUTER SYSTEMS NON PHYSICAL DAMAGE

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the period of interruption directly resulting from:

                1) the failure of the Insured’s electronic data processing equipment or media to operate,
                   provided that such failure is the direct result of a malicious act directed at the NAMED
                   INSURED; or

                2) the Insured’s reasonable action to temporarily protect the Insured’s electronic data
                   processing equipment or media against an actual or immediately impending malicious
                   act directed at the NAMED INSURED, provided such action is necessary to prevent
                   failure of the Insured’s electronic data processing equipment or media to operate.

                For the purposes of this Extension, the Insured’s electronic data processing equipment or
                media can be located worldwide except in Cuba, Iran, North Korea, Sudan, Syria or Crimea
                Region of Ukraine.

                As respects item 1 above, this Extension will apply when the period of interruption is in
                excess of 48 hours.

                As used above, the period of interruption:

                1) is the period starting when the Insured’s electronic data processing equipment or
                   media fails to operate and ending when with due diligence and dispatch, the Insured’s
                   electronic data processing equipment or media could be restored to the same or
                   equivalent operating condition that existed prior to the failure.

                2) does not include the additional time to make changes to the Insured’s electronic data
                   processing equipment or media.

        B.      OFF PREMISES DATA SERVICES TIME ELEMENT

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the period of interruption at an insured location of off-premises data
                processing or data transmission services, when the interruption is caused by any
                accidental event at the facilities of the provider of such services that immediately prevents in
                whole or in part the delivery of such provided services.

                For the purposes of this Extension:

                1) facilities of the provider of off-premises data processing or data transmission
                   services can be located worldwide except in Cuba, Iran, North Korea, Sudan, Syria or
                   Crimea Region of Ukraine, and




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                2) an accidental event to satellites will be considered an accidental event at the facilities of
                   the provider.

                This Extension will apply when the period of interruption of off-premises data processing
                or data transmission services is in excess of 24 hours.

                Additional General Provisions:

                1) The Insured will immediately notify the company providing off-premises data
                   processing or data transmission services of any interruption of such services.

                2) The Company will not be liable if the interruption of such services is caused directly or
                   indirectly by the failure of the Insured to comply with the terms and conditions of any
                   contracts the Insured has entered into for such specified services.

                Coverage provided in this Extension is excluded from coverage elsewhere in this Policy.

                This Extension does not cover Actual Loss Sustained and EXTRA EXPENSE incurred by
                the Insured covered by COMPUTER SYSTEMS NON PHYSICAL DAMAGE coverage as
                provided in this section of the Policy.

                OFF PREMISES DATA SERVICES TIME ELEMENT Exclusions: As respects OFF
                PREMISES DATA SERVICES TIME ELEMENT, the following applies:

                1) Item B4 of the EXCLUSIONS clause in the PROPERTY DAMAGE section does not
                   apply except for B4 with respect to:

                      a) incoming electricity, fuel, water, gas, steam or refrigerant; and

                      b) outgoing sewerage.

                2) The following additional exclusions apply:

                      This Policy excludes loss or damage directly or indirectly caused by or resulting from
                      the following regardless of any other cause or event, whether or not insured under this
                      Policy, contributing concurrently or in any other sequence to the loss:

                      a) earth movement for property located in the New Madrid Seismic Zone or in the
                         Pacific Northwest Seismic Zone.

                      b) terrorism.

                As used above, the period of interruption of off-premises data processing or data
                transmission services:

                1) is the period starting with the time when an interruption of provided services happens;
                   and ending when with due diligence and dispatch the service could be wholly restored
                   and the location receiving the service could or would have resumed normal operations



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                      following the restorations of service under the same or equivalent physical and operating
                      conditions as provided by the PERIOD OF LIABILITY clause in this section.

                2) is limited to only those hours during which the Insured would or could have used
                   service(s) if it had been available.

                3) does not extend to include the interruption of operations caused by any reason other than
                   interruption of the provided service(s).

        SUPPLY CHAIN TIME ELEMENT COVERAGE EXTENSIONS

        A.      CIVIL OR MILITARY AUTHORITY

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the PERIOD OF LIABILITY if an order of civil or military authority limits,
                restricts or prohibits partial or total access to an insured location provided such order is the
                direct result of physical damage of the type insured at the insured location or within five
                statute miles/eight kilometres of it.

                This Extension does not apply to LEASEHOLD INTEREST.

                The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                be:

                The period of time:

                1) starting at the time of such physical damage; but

                2) not to exceed the time limit shown in the LIMITS OF LIABILITY clause in the
                   DECLARATIONS section,

                this period of time is part of and not in addition to any PERIOD OF LIABILITY applying to
                any coverage provided in the TIME ELEMENT section.

        B.      CONTINGENT TIME ELEMENT EXTENDED

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the PERIOD OF LIABILITY directly resulting from physical loss or damage
                of the type insured to property of the type insured at contingent time element locations
                located within the TERRITORY of this Policy.

                As respects CONTINGENT TIME ELEMENT EXTENDED:

                1) Time Element loss recoverable under this Extension is extended to include the following
                   TIME ELEMENT COVERAGE EXTENSIONS:

                      CIVIL OR MILITARY AUTHORITY
                      CONTINGENT TIME ELEMENT EXTENDED
                      DELAY IN STARTUP


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                      EXTENDED PERIOD OF LIABILITY
                      INGRESS/EGRESS
                      OFF PREMISES DATA SERVICES TIME ELEMENT
                      ON PREMISES SERVICES
                      SERVICE INTERRUPTION TIME ELEMENT

                2) The Insured will influence and cooperate with the contingent time element location in
                   every way and take any reasonable and necessary action to mitigate the loss payable
                   hereunder.

                3) TIME ELEMENT EXCLUSIONS C does not apply.

                CONTINGENT TIME ELEMENT EXTENDED Exclusions: As respects CONTINGENT
                TIME ELEMENT EXTENDED, the following additional exclusions apply:

                This Policy does not insure loss resulting from:

                1) lack of incoming or outgoing transmission of voice, data or video.

                2) earth movement as respects a direct or indirect customer, supplier, contract
                   manufacturer or contract service provider located in the New Madrid Seismic Zone or
                   in the Pacific Northwest Seismic Zone.

                3) physical loss or damage caused by or resulting from terrorism, regardless of any other
                   cause or event, whether or not insured under this Policy, contributing concurrently or in
                   any other sequence of loss.

        C.      INGRESS/EGRESS

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured due to the necessary interruption of the Insured’s business due to partial or total
                physical prevention of ingress to or egress from an insured location, whether or not the
                premises or property of the Insured is damaged, provided that such prevention is a direct
                result of physical damage of the type insured to property of the type insured.

                INGRESS/EGRESS Exclusions: As respects INGRESS/EGRESS, the following additional
                exclusions apply:

                This Policy does not insure loss resulting from:

                1) lack of incoming or outgoing service consisting of electric, fuel, gas, water, steam,
                   refrigerant, sewerage and voice, data or video.

                2) picketing or other action by strikers except for physical damage not excluded by this
                   Policy.

                3) physical loss or damage caused by or resulting from terrorism, regardless of any other
                   cause or event, whether or not insured under this Policy, contributing concurrently or in
                   any other sequence to the loss.


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                This Policy does not provide coverage under this Extension for more than the number of
                consecutive days shown in the LIMITS OF LIABILITY clause of the DECLARATIONS
                section.

        D.      LOGISTICS EXTRA COST

                This Policy covers the extra cost incurred by the Insured during the PERIOD OF
                LIABILITY due to the disruption of the normal movement of goods or materials:

                1) directly between insured locations; or

                2) directly between an insured location and a location of a direct customer, supplier,
                   contract manufacturer or contract service provider to the Insured,

                provided that such disruption is a direct result of physical loss or damage of the type insured
                to property of the type insured located within the TERRITORY of this Policy.

                Measurement of Loss:

                The recoverable extra cost loss will be the reasonable and necessary extra costs incurred by
                the Insured of the following:

                1) extra costs to temporarily continue as nearly normal as practicable the movement of
                   goods or materials.

                This Extension will apply when the PERIOD OF LIABILITY is in excess of 48 hours except
                168 hours applies for earth movement and/or flood and/or wind.

                LOGISTICS EXTRA COST Exclusions: As respects LOGISTICS EXTRA COST, the
                following additional exclusions apply:

                This Policy does not insure:

                1) any loss resulting from disruption in the movement of goods or materials between
                   contingent time element locations.

                2) any loss resulting from disruption of incoming or outgoing services consisting of
                   electricity, gas, fuel, steam, water, refrigeration, sewerage and voice, data or video.

                3) any loss of income.

                4) costs that usually would have been incurred in conducting the business during the same
                   period had there been no disruption of normal movement of goods or materials.

                5) costs of permanent repair or replacement of property that has been damaged or
                   destroyed.

                6) any expense recoverable elsewhere in this Policy.


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                7) any loss resulting from disruption caused by or resulting from terrorism, regardless of
                   any other cause or event, whether or not insured under this Policy, contributing
                   concurrently or in any other sequence to the loss.

                8) any loss resulting from disruption caused by loss or damage from earth movement in
                   the New Madrid Seismic Zone or in the Pacific Northwest Seismic Zone.

                9) any loss resulting from disruption caused by physical loss or damage to personal
                   property of the Insured while in transit.

                The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                be:

                The period of time:

                1) starting at the time of physical loss or damage causing the disruption of the normal
                   movement of goods or materials directly between insured locations; or directly between
                   the insured location and the location of the direct customer, supplier, contract
                   manufacturer or contract service provider to the Insured, and

                2) ending not later than:

                      a) when with due diligence and dispatch the normal movement of goods or materials
                         directly between insured locations; or directly between the insured location and the
                         location of the direct customer, supplier, contract manufacturer or contract service
                         provider to the Insured could be resumed; or

                      b) the number of consecutive days shown in the LIMITS OF LIABILITY clause of the
                         DECLARATIONS section.

        E.      SERVICE INTERRUPTION TIME ELEMENT

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the period of service interruption at an insured location when the loss is
                caused by the interruption of incoming services consisting of electricity, gas, fuel, steam,
                water, refrigeration or from the lack of outgoing sewerage service by reason of any
                accidental event at the facilities of the supplier of such service located within this Policy’s
                TERRITORY, that immediately prevents in whole or in part the delivery of such usable
                services.

                This Extension will apply when the period of service interruption is in excess of 24 hours.

                Additional General Provisions:

                1) The Insured will immediately notify the suppliers of services of any interruption of such
                   services.




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                2) The Company will not be liable if the interruption of such services is caused directly or
                   indirectly by the failure of the Insured to comply with the terms and conditions of any
                   contracts the Insured has for the supply of such specified services.

                SERVICE INTERRUPTION TIME ELEMENT Exclusions: As respects SERVICE
                INTERRUPTION TIME ELEMENT, the following applies:

                1) The exclusions in the EXCLUSIONS clause in the PROPERTY DAMAGE section do
                   not apply except for:

                      a) A1, A2, A3, A6, B1, B2, and

                      b) B4 with respect to incoming or outgoing voice, data or video, and

                      c) D1 except with respect to fungus, mold or mildew.

                2) The following additional exclusions apply:

                      This Policy excludes loss or damage directly or indirectly caused by or resulting from
                      the following regardless of any other cause or event, whether or not insured under this
                      Policy, contributing concurrently or in any other sequence to the loss:

                      a) earth movement for property located in the New Madrid Seismic Zone or in the
                         Pacific Northwest Seismic Zone.

                      b) terrorism.

                As used above, the period of service interruption:

                1) is the period starting with the time when an interruption of specified services happens;
                   and ending when with due diligence and dispatch the service could be wholly restored
                   and the location receiving the service could or would have resumed normal operations
                   following the restorations of service under the same or equivalent physical and operating
                   conditions as provided by the PERIOD OF LIABILITY clause in this section.

                2) is limited to only those hours during which the Insured would or could have used
                   service(s) if it had been available.

                3) does not extend to include the interruption of operations caused by any reason other than
                   interruption of the specified service(s).

        ADDITIONAL TIME ELEMENT COVERAGE EXTENSIONS

        A.      ATTRACTION PROPERTY

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the PERIOD OF LIABILITY directly resulting from physical loss or damage
                of the type insured to property of the type insured that attracts business to an insured
                location and is within 1 statute mile/1.6 kilometres of the insured location.


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                ATTRACTION PROPERTY Exclusions: As respects ATTRACTION PROPERTY, the
                following additional exclusion applies:

                This Policy does not insure loss resulting from:

                1) physical loss or damage caused by or resulting from terrorism, regardless of any other
                   cause or event, whether or not insured under this Policy, contributing concurrently or in
                   any other sequence to the loss.

                The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                be:

                The period of time:

                1) starting at the time of such physical damage; but

                2) not to exceed the time limit shown in the LIMITS OF LIABILITY clause in the
                   DECLARATIONS section.

        B.      CRISIS MANAGEMENT

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the PERIOD OF LIABILITY if an order of civil or military authority limits,
                restricts or prohibits partial or total access to an insured location, provided such order is a
                direct result of:

                1) a violent crime, suicide, attempted suicide, or armed robbery; or

                2) a death or bodily injury caused by a workplace accident;

                at such insured location.

                For the purposes of this Extension only, a workplace accident shall be considered a sudden,
                fortuitous event that happens during working hours and arises out of work performed in the
                course and the scope of employment.

                This Extension of coverage will apply when the PERIOD OF LIABILITY is in excess of 4
                hours.

                CRISIS MANAGEMENT Exclusions: As respects CRISIS MANAGEMENT, the following
                additional exclusion applies:

                This Policy excludes loss or damage directly or indirectly caused by or resulting from the
                following regardless of any other cause or event, whether or not insured under this Policy,
                contributing concurrently or in any other sequence to the loss:

                1) terrorism.



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                The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                be:

                The period of time:

                1) starting with the time the civil or military authority prohibits access; but

                2) not to exceed the time limit shown in the LIMITS OF LIABILITY clause in the
                   DECLARATIONS section.

        C.      DELAY IN STARTUP

                GROSS EARNINGS or GROSS PROFIT and EXTRA EXPENSE are extended to cover the
                Actual Loss Sustained incurred by the Insured during the PERIOD OF LIABILITY due to
                the reasonable and necessary delay in startup of business operations directly resulting from
                physical loss or damage of the type insured to insured property under construction at an
                insured location.

        D.      EXTENDED PERIOD OF LIABILITY

                The GROSS EARNINGS coverage is extended to cover the reduction in sales resulting
                from:

                1) the interruption of business as covered by GROSS EARNINGS;

                2) for such additional length of time as would be required with the exercise of due
                   diligence and dispatch to restore the Insured’s business to the condition that would have
                   existed had no loss happened; and

                3) commencing with the date on which the liability of the Company for loss resulting from
                   interruption of business would terminate if this Extension had not been included in this
                   Policy.

                However, this Extension does not apply to GROSS EARNINGS loss resulting from physical
                loss or damage caused by or resulting from terrorism.

                EXTENDED PERIOD OF LIABILITY Exclusions: As respects EXTENDED PERIOD OF
                LIABILITY, the TIME ELEMENT EXCLUSIONS B of this section does not apply and the
                following applies instead:

                This Policy does not insure against any increase in loss due to damages for breach of
                contract or for late or noncompletion of orders, or fines or penalties of any nature except
                fines or penalties for breach of contract or for late or noncompletion of orders.

                Coverage under this Extension for the reduction in sales due to contract cancellation will
                include only those sales that would have been earned under the contract during the extended
                period of liability.




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                Coverage under this Extension does not apply for more than the number of consecutive days
                shown in the LIMITS OF LIABILITY clause of the DECLARATIONS section.

        E.      INTERRUPTION BY COMMUNICABLE DISEASE

                If a location owned, leased or rented by the Insured has the actual not suspected presence of
                communicable disease and access to such location is limited, restricted or prohibited by:

                1) an order of an authorized governmental agency regulating the actual not suspected
                   presence of communicable disease; or

                2) a decision of an Officer of the Insured as a result of the actual not suspected presence of
                   communicable disease,

                this Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the Insured
                during the PERIOD OF LIABILITY at such location with the actual not suspected presence
                of communicable disease.

                This Extension will apply when access to such location is limited, restricted, or prohibited in
                excess of 48 hours.

                INTERRUPTION BY COMMUNICABLE DISEASE Exclusions: As respects
                INTERRUPTION BY COMMUNICABLE DISEASE, the following additional exclusions
                apply:

                This Policy does not insure loss resulting from:

                1) the enforcement of any law or ordinance with which the Insured was legally obligated to
                   comply prior to the time of the actual spread of communicable disease.

                2) loss or damage caused by or resulting from terrorism, regardless of any other cause or
                   event, whether or not insured under this Policy, contributing concurrently or in any
                   sequence of loss.

                The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will
                be:

                The period of time:

                1) starting at the time of the order of the authorized governmental agency or the Officer of
                   the Insured; but

                2) not to exceed the time limit shown in the LIMITS OF LIABILITY clause in the
                   DECLARATIONS section,

                this period of time is part of and not in addition to any PERIOD OF LIABILITY applying to
                any coverage provided in the TIME ELEMENT section.




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        F.      ON PREMISES SERVICES

                This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
                Insured during the PERIOD OF LIABILITY directly resulting from physical loss or damage
                of the type insured to the following property located within 1,000 feet/300 metres of the
                insured location:

                1) Electrical equipment and equipment used for the transmission of voice, data or video.

                2) Electrical, fuel, gas, water, steam, refrigeration, sewerage, voice, data or video
                   transmission lines.

        G.      PROTECTION AND PRESERVATION OF PROPERTY TIME ELEMENT

                This Policy covers the Actual Loss Sustained by the Insured for a period of time not to
                exceed 48 hours prior to and 48 hours after the Insured first taking reasonable action for the
                temporary protection and preservation of property insured by this Policy provided such
                action is necessary to prevent immediately impending insured physical loss or damage to
                such insured property.

                This Extension does not cover the Actual Loss Sustained by the Insured to temporarily
                protect or preserve insured property from actual, or to prevent immediately impending,
                physical loss or damage covered by TERRORISM coverage as provided in the PROPERTY
                DAMAGE section.

                This Extension is subject to the deductible provisions that would have applied had the
                physical loss or damage happened.

        H.      RELATED REPORTED VALUES

                If reported TIME ELEMENT values include:

                1) locations used by the Insured (such as branch stores, sales outlets and other plants) but
                   not listed on a schedule under this Policy; and

                2) a TIME ELEMENT loss would result at such locations,

                3) from insured physical loss or damage at an insured location,

                then this Policy provides coverage for such resulting TIME ELEMENT loss in accordance
                with the coverage applicable at such insured location.

        I.      RESEARCH AND DEVELOPMENT

                The GROSS EARNINGS and GROSS PROFIT coverages are extended to insure the Actual
                Loss Sustained by the Insured of continuing fixed charges and Ordinary Payroll directly
                attributable to the interruption of research and development activities that in themselves
                would not have produced income during the PERIOD OF LIABILITY.



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                The PERIOD OF LIABILITY for this Extension will be the period from the time of direct
                physical loss or damage of the type insured to the time when the property could be repaired
                or replaced and made ready for operations, but as respects GROSS PROFIT and Ordinary
                Payroll such period of time shall not exceed the period of time shown in the LIMITS OF
                LIABILITY clause of the DECLARATIONS section. Such period of time shall not be
                limited by the date of expiration of this Policy.

        J.      SOFT COSTS

                This Policy covers the Actual Loss Sustained incurred by the Insured of soft costs during the
                PERIOD OF LIABILITY arising out of the delay of completion of buildings and additions
                under construction directly resulting from physical loss or damage of the type insured to
                insured property under construction at an insured location.




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                                  LOSS ADJUSTMENT AND SETTLEMENT

1.      REQUIREMENTS IN CASE OF LOSS

        The Insured will:

        1)      give immediate written notice to the Company of any loss.

        2)      protect the property from further loss or damage.

        3)      promptly separate the damaged and undamaged property; put it in the best possible order;
                and furnish a complete inventory of the lost, destroyed, damaged and undamaged property
                showing in detail the quantities, costs, actual cash value, replacement value and amount of
                loss claimed.

        4)      give a signed and sworn proof of loss to the Company within 90 days after the loss, unless
                that time is extended in writing by the Company. The proof of loss must state the
                knowledge and belief of the Insured as to:

                a) the time and origin of the loss.

                b) the Insured’s interest and that of all others in the property.

                c) the actual cash value and replacement value of each item and the amount of loss to each
                   item; all encumbrances; and all other contracts of insurance, whether valid or not,
                   covering any of the property.

                d) any changes in the title, use, occupation, location, possession or exposures of the
                   property since the effective date of this Policy.

                e) by whom and for what purpose any location insured by this Policy was occupied on the
                   date of loss, and whether or not it then stood on leased ground.

        5)      include a copy of all the descriptions and schedules in all policies and, if required, provide
                verified plans and specifications of any buildings, fixtures, machinery or equipment
                destroyed or damaged.

        6)      further, the Insured, will as often as may be reasonably required:

                a) exhibit to any person designated by the Company all that remains of any property;

                b) submit to examination under oath by any person designated by the Company and sign
                   the written records of examinations; and

                c) produce for examination at the request of the Company:

                      (i) all books of accounts, business records, bills, invoices and other vouchers; or

                      (ii) certified copies if originals are lost,


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                at such reasonable times and places that may be designated by the Company or its
                representative and permit extracts and machine copies to be made.

2.      CURRENCY FOR LOSS PAYMENT

        Losses will be adjusted and paid in the currency of the United States of America, except in Canada
        where losses will be paid in Canadian currency, unless directed otherwise by the Insured.

        In the event of a loss adjustment involving currency conversion, the exchange selling rate will be
        calculated as follows:

        A.      As respects the calculation of deductibles and limits of liability, the rate of exchange
                published in The Wall Street Journal on the date of loss.

        B.      As respects loss or damage to insured real and personal property:

                1) the cost to repair or replace such property will be converted at the time the cost of repair
                   or replacement is incurred based on the rate of exchange published in The Wall Street
                   Journal.

                2) if such property is not replaced or repaired, the conversion will be based on the rate of
                   exchange published in The Wall Street Journal as of the date of loss.

        C.      As respects TIME ELEMENT loss the conversion will be based on the average of the rate of
                exchange published in The Wall Street Journal on the date of loss and the rate of exchange
                published in The Wall Street Journal on the last day of the Period of Liability.

        If The Wall Street Journal was not published on the stipulated date, the rate of exchange will be as
        published on the next business day.

3.      PARTIAL PAYMENT OF LOSS SETTLEMENT

        In the event of insured physical loss or damage determined by the Company’s representatives to be
        in excess of the applicable Policy deductible, the Company will advance mutually agreed upon
        partial payment(s), subject to the Policy’s provisions. To obtain such partial payments, the Insured
        will submit a signed and sworn Proof of Loss as described in this Policy, with adequate supporting
        documentation.

4.      COLLECTION FROM OTHERS

        The Company will not be liable for any loss to the extent that the Insured has collected for such
        loss from others.

5.      SUBROGATION

        The Insured is required to cooperate in any subrogation proceedings. The Company may require
        from the Insured an assignment or other transfer of all rights of recovery against any party for loss
        to the extent of the Company’s payment.


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        The Company will not acquire any rights of recovery that the Insured has expressly waived prior to
        a loss, nor will such waiver affect the Insured’s rights under this Policy.

        Any recovery from subrogation proceedings, less costs incurred by the Company in such
        proceedings, will be payable to the Insured in the proportion that the amount of:

        1)      any applicable deductible; and/or

        2)      any provable uninsured loss,

        bears to the entire provable loss amount.

6.      COMPANY OPTION

        The Company has the option to take all or any part of damaged property at the agreed or appraised
        value. The Company must give notice to the Insured of its intention to do so within 30 days after
        receipt of Proof of Loss.

7.      ABANDONMENT

        There may be no abandonment of any property to the Company.

8.      APPRAISAL

        If the Insured and the Company fail to agree on the amount of loss, each will, on the written
        demand of either, select a competent and disinterested appraiser after:

        1)      the Insured has fully complied with all provisions of this Policy, including
                REQUIREMENTS IN CASE OF LOSS; and

        2)      the Company has received a signed and sworn Proof of Loss from the Insured.

        Each will notify the other of the appraiser selected within 20 days of such demand.

        The appraisers will first select a competent and disinterested umpire. If the appraisers fail to agree
        upon an umpire within 30 days then, on the request of the Insured or the Company, the umpire will
        be selected by a judge of a court of record in the jurisdiction in which the appraisal is pending. The
        appraisers will then appraise the amount of loss, stating separately the actual cash value and
        replacement cost value as of the date of loss and the amount of loss, for each item of physical loss
        or damage or if, for TIME ELEMENT loss, the amount of loss for each TIME ELEMENT
        coverage of this Policy.

        If the appraisers fail to agree, they will submit their differences to the umpire. An award agreed to
        in writing by any two will determine the amount of loss.

        The Insured and the Company will each:

        1)      pay its chosen appraiser; and


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        2)      bear equally the other expenses of the appraisal and umpire.

        A demand for APPRAISAL shall not relieve the Insured of its continuing obligation to comply
        with the terms and conditions of this Policy, including as provided under REQUIREMENTS IN
        CASE OF LOSS.

        The Company will not be held to have waived any of its rights by any act relating to appraisal.

9.      SUIT AGAINST THE COMPANY

        No suit, action or proceeding for the recovery of any claim will be sustained in any court of law or
        equity unless:

        1)      the Insured has fully complied with all the provisions of this Policy; and

        2)      legal action is started within twelve months after inception of the loss.

        If under the insurance laws of the jurisdiction in which the property is located, such twelve months’
        limitation is invalid, then any such legal action must be started within the shortest limit of time
        permitted by such laws.

10.     SETTLEMENT OF CLAIMS

        The amount of loss for which the Company may be liable will be paid within 30 days after:

        A.      proof of loss as described in this Policy is received by the Company; and

        B.      when a resolution of the amount of loss is made either by:

                1) written agreement between the Insured and the Company; or

                2) the filing with the Company of an award as provided in the APPRAISAL clause of this
                   section.




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                                                GENERAL PROVISIONS

1.      CANCELLATION/NON-RENEWAL

        This Policy may be:

        A.      cancelled at any time at the request of the Insured by surrendering this Policy to the
                Company or by giving written notice to the Company stating when such cancellation will
                take effect; or

        B.      cancelled by the Company by giving the Insured not less than:

                 1) 60 days’ written notice of cancellation; or

                 2) 10 days’ written notice of cancellation if the Insured fails to remit, when due, payment
                    of premium for this Policy; or

        C.      non-renewed by the Company by giving the Insured not less than 60 days’ written notice of
                non-renewal.

        Return of any unearned premium will be calculated on the customary short rate basis if the Insured
        cancels and on a pro-rata basis if the Company cancels this Policy. Return of any unearned
        premium will be made by the Company as soon as practicable.

2.      INSPECTIONS

        The Company, at all reasonable times, will be permitted, but will not have the duty, to inspect
        insured property. The Company does not address life, safety or health issues.

        The Company’s:

        A.      right to make inspections;

        B.      making of inspections; or

        C.      providing recommendations or other information in connection with any inspections,

        will not constitute an undertaking, on behalf of or for the benefit of the Insured or others. The
        Company will have no liability to the Insured or any other person because of any inspection or
        failure to inspect.

        When the Company is not providing jurisdictional inspections, the Owner/Operator has the
        responsibility to assure that jurisdictional inspections are performed as required, and to assure that
        required jurisdictional Operating Certificates are current for their pressure equipment.

3.      PROVISIONS APPLICABLE TO SPECIFIC JURISDICTIONS

        A.      If the provisions of this Policy conflict with the laws of any jurisdictions in which this Policy
                applies, and if certain provisions are required by law to be stated in this Policy, this Policy


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                will be read so as to eliminate such conflict or deemed to include such provisions for insured
                locations within such jurisdictions.

        B.      The Company will provide to the Insured copies of endorsements mandated for use by the
                laws of provinces in Canada. The endorsements modify this Policy with respect to any
                insured property located in the province in which the endorsement applies.

        C.      The Company will provide to the Insured copies of endorsements mandated for use by the
                laws of states in the United States of America. The endorsements modify this Policy with
                respect to any insured property located in the state in which the endorsement applies.

        D.      In respect of any insured property located in France or in French territories, coverage is
                provided for loss or damage caused by or resulting from acts of terrorism committed within
                France or within French territories, in accordance with articles L126-2, R126-1 and R126-2
                of the Insurance Code and decree 2001-1337 dated 28 December 2001.

        E.      Notwithstanding anything contained in this Policy to the contrary, there is no coverage for
                loss or damage and any resulting TIME ELEMENT loss, as provided in the TIME
                ELEMENT section of this Policy, caused by or resulting from the following regardless of
                any other cause or event contributing concurrently or in any other sequence to the loss:

                 1) terrorism for property located in Great Britain.

        F.      Coverage is provided for physical loss or damage and any resulting TIME ELEMENT loss
                as provided in the TIME ELEMENT section of this Policy to insured property in Northern
                Ireland occasioned by or happening through or in consequence directly or indirectly of:

                1) riot, civil commotion and (except in respect of loss or damage and resulting TIME
                   ELEMENT loss by fire or explosion) strikers, locked-out workers or persons taking part
                   in labor disturbances or malicious persons; and

                2) terrorism,

                subject to liability of the Company only to be for the extent of the loss not recoverable by the
                Insured under the "Criminal Damage (Compensation) (Northern Ireland) Order 1977" or
                subsequent legislation; and to all other terms, conditions and limits of this Policy.

        G.      For any insured property located in Norway, this Policy insures against loss or damage to
                insured property resulting from Natural Catastrophe perils as designated in the Act of
                Natural Perils of June 16th, 1989.

        H.      With respect to any insured property in South Africa, the following conditions additionally
                apply:

                 Notwithstanding anything contained herein to the contrary:

                1) This Policy does not cover loss of or damage directly or indirectly to property related to
                   or caused by:



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                      a) civil commotion, labor disturbances, riot, strike, lockout or public disorder or any
                         act or activity which is calculated or directed to bring about any of the above;

                      b) war, invasion, act of foreign enemy, hostilities or warlike operations (whether war
                         be declared or not) or civil war;

                      c) (i) mutiny, military rising, military or usurped power, martial law or state of siege,
                             or any other event or cause which determines the proclamation or maintenance
                             of martial law or siege;

                           (ii) insurrection, rebellion or revolution.

                      d) any act (whether on behalf of any organization, body or person, or group of persons)
                         calculated or directed to overthrow or influence any state or government, or any
                         provincial, local or tribal authority with force, or by means of fear, terrorism or
                         violence;

                      e) any act which is calculated or directed to bring about loss or damage in order to
                         further any political aim, objective or cause or to bring about any social or economic
                         change, or in protest against any state or government, or any provincial, local or
                         tribal authority, or for the purpose of inspiring fear in the public, or any section
                         thereof;

                      f) any attempt to perform any act referred to in clause d or e above;

                      g) The act of any lawfully established authority in controlling, preventing, suppressing
                         or in any other way dealing with any event referred to in clause a, b, c, d, e or f
                         above.

                      If the Insurers allege that by reason of clauses a, b, c, d, e, f, or g of this exclusion, loss
                      or damage is not covered by this Policy, the burden of proving the contrary will rest on
                      the Insured.

                2) This Policy does not cover loss or damage caused directly or indirectly by or through or
                   in consequence of any event for which a fund has been established in terms of the War
                   Damage Insurance and Compensation Act 1976 (No. 85 of 1976) or any similar Act
                   operative in any of the territories to which this Policy applies.

        I.      As respects the United States, its territories and possessions and the Commonwealth of
                Puerto Rico, the definition of terrorism is declared null and void and it is agreed that an
                event defined as a Certified Act of Terrorism under the terms of the SUPPLEMENTAL
                UNITED STATES CERTIFIED ACT OF TERRORISM ENDORSEMENT(S) attached to
                this Policy shall be considered an act of terrorism within the terms of this Policy. Coverage
                recoverable under the SUPPLEMENTAL UNITED STATES CERTIFIED ACT OF
                TERRORISM ENDORSEMENT(S) is excluded from any other coverage under this Policy.
                Any difference in limit between loss recoverable under the SUPPLEMENTAL UNITED
                STATES CERTIFIED ACT OF TERRORISM ENDORSEMENT(S) and this Policy is not
                recoverable under this Policy.



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4.      LIBERALIZATION

        If during the period that insurance is in force under this Policy, any filed rules or regulations
        affecting the same are revised by statute so as to broaden the insurance without additional premium
        charge, such extended or broadened insurance will inure to the benefit of the Insured within such
        jurisdiction, effective the date of the change specified in such statute.

5.      MISREPRESENTATION AND FRAUD

         This entire Policy will be void if, whether before or after a loss, an Insured has:

         A.     willfully concealed or misrepresented any material fact or circumstance concerning this
                insurance, the subject thereof, any insurance claim, or the interest of an Insured.

         B.     made any attempt to defraud the Company.

         C.     made any false swearing.

6.      LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS

        A.      The Company will pay for loss to specified property insured under this Policy to each
                specified Lender Loss Payee (hereinafter referred to as Lender) as its interest may appear,
                and to each specified Mortgagee as its interest may appear, under all present or future
                mortgages upon such property, in order of precedence of the mortgages.

        B.      The interest of the Lender or Mortgagee (as the case may be) in property insured under this
                Policy will not be invalidated by:

                1) any act or neglect of the debtor, mortgagor, or owner (as the case may be) of the
                   property.

                2) foreclosure, notice of sale, or similar proceedings with respect to the property.

                3) change in the title or ownership of the property.

                4) change to a more hazardous occupancy.

                The Lender or Mortgagee will notify the Company of any known change in ownership,
                occupancy, or hazard and, within 10 days of written request by the Company, may pay the
                increased premium associated with such known change. If the Lender or Mortgagee fails to
                pay the increased premium, all coverage under this Policy will cease.

        C.      If this Policy is cancelled at the request of the Insured or its agent, the coverage for the
                interest of the Lender or Mortgagee will terminate 10 days after the Company sends to the
                Lender or Mortgagee written notice of cancellation, unless:

                1) sooner terminated by authorization, consent, approval, acceptance, or ratification of the
                   Insured's action by the Lender or Mortgagee, or its agent.



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                2) this Policy is replaced by the Insured, with a policy providing coverage for the interest
                   of the Lender or Mortgagee, in which event coverage under this Policy with respect to
                   such interest will terminate as of the effective date of the replacement policy,
                   notwithstanding any other provision of this Policy.

        D.      The Company may cancel this Policy and/or the interest of the Lender or Mortgagee under
                this Policy, by giving the Lender or Mortgagee written notice 60 days prior to the effective
                date of cancellation, if cancellation is for any reason other than non-payment. If the debtor,
                mortgagor, or owner has failed to pay any premium due under this Policy, the Company may
                cancel this Policy for such non-payment, but will give the Lender or Mortgagee written
                notice 10 days prior to the effective date of cancellation. If the Lender or Mortgagee fails to
                pay the premium due by the specified cancellation date, all coverage under this Policy will
                cease.

        E.      The Company has the right to invoke this Policy's SUSPENSION clause. The suspension of
                insurance will apply to the interest of the Lender or Mortgagee in any machine, vessel, or
                part of any machine or vessel, subject to the suspension. The Company will provide the
                Lender or Mortgagee at the last known address a copy of the suspension notice.

        F.      If the Company pays the Lender or Mortgagee for any loss, and denies payment to the
                debtor, mortgagor or owner, the Company will, to the extent of the payment made to the
                Lender or Mortgagee be subrogated to the rights of the Lender or Mortgagee under all
                securities held as collateral to the debt or mortgage. No subrogation will impair the right of
                the Lender or Mortgagee to sue or recover the full amount of its claim. At its option, the
                Company may pay to the Lender or Mortgagee the whole principal due on the debt or
                mortgage plus any accrued interest. In this event, all rights and securities will be assigned
                and transferred from the Lender or Mortgagee to the Company, and the remaining debt or
                mortgage will be paid to the Company.

        G.      If the Insured fails to render proof of loss, the Lender or Mortgagee, upon notice of the
                Insured's failure to do so, will render proof of loss within 60 days of notice and will be
                subject to the provisions of this Policy relating to APPRAISAL, SETTLEMENT OF
                CLAIMS, and SUIT AGAINST THE COMPANY.

        H.      Other provisions relating to the interests and obligations of the Lender or Mortgagee may be
                added to this Policy by agreement in writing.

7.      OTHER INSURANCE

        A.      If there is any other insurance that would apply in the absence of this Policy, this Policy will
                apply only after such insurance whether collectible or not.

        B.      In no event will this Policy apply as contributing insurance.

        C.      The Insured is permitted to have other insurance over any limits or sublimits of liability
                specified elsewhere in this Policy without prejudice to this Policy. The existence of any
                such insurance will not reduce any limit or sublimit of liability in this Policy. Any other
                insurance that would have provided primary coverage in the absence of this Policy will not
                be considered excess.


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        D.      The Insured is permitted to have other insurance for all, or any part, of any deductible in this
                Policy. The existence of such other insurance will not prejudice recovery under this Policy.
                If the limits of liability of such other insurance are greater than this Policy’s applicable
                deductible, this Policy’s insurance will apply only after such other insurance has been
                exhausted.

        E.      If this Policy is deemed to contribute with other insurance, the limit of liability applicable at
                each location, for the purposes of such contribution with other insurers, will be the latest
                amount described in this Policy or the latest location value on file with the Company.

        F.      National Flood Insurance Program: This Policy shall respond as excess over those terms and
                conditions concurrent with the Standard Flood Insurance Policy issued to the Insured, its
                renewal or replacement thereof.

                The flood deductible for location(s) as described on the Flood Locations, Appendix D will
                be reduced by one dollar for each dollar recovered under the Standard Flood Insurance
                Policy until no deductible applies.

8.      POLICY MODIFICATION

         This Policy contains all of the agreements between the Insured and the Company concerning this
         insurance. The Insured and the Company may request changes to this Policy. This Policy can be
         changed only by endorsements issued by the Company and made a part of this Policy.

         Notice to any agent or knowledge possessed by any agent or by any other person will not:

         A.     create a waiver, or change any part of this Policy; or

         B.     prevent the Company from asserting any rights under the provisions of this Policy.

9.      REDUCTION BY LOSS

        Claims paid under this Policy will not reduce its limit of liability, except claims paid will reduce
        any aggregate during any policy year limit.

10.     SUSPENSION

        On discovery of a dangerous condition, the Company may immediately suspend this insurance on
        any machine, vessel or part thereof by giving written notice to the Insured. The suspended
        insurance may be reinstated by the Company. Any unearned premium resulting from such
        suspension will be returned by the Company.

11.     TITLES

        The titles in this Policy are only for reference. The titles do not in any way affect the provisions of
        this Policy.




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12.     ASSIGNMENT

        Assignment of this Policy will not be valid except with the written consent of the Company.

13.     DEFINITIONS

        The following terms when appearing in boldface in this Policy mean:

        actual cash value:
        the amount it would cost to repair or replace insured property, on the date of loss, with material of
        like kind and quality, with proper deduction for obsolescence and physical depreciation.

        aggregate during any policy year:
        the Company’s maximum amount payable during any policy year.

        appurtenant structures:
        penstocks, canals, tunnels, or flumes used to transport the water from the dam to the powerhouse,
        fish ladders and powerhouse if the powerhouse is integral to the dam, but not including mechanical
        or electrical equipment directly related to the generation of electricity.

        communicable disease:
        disease which is:

        A.      transmissible from human to human by direct or indirect contact with an affected individual
                or the individual’s discharges, or

        B.      Legionellosis.

        contaminant:
        anything that causes contamination.

        contamination:
        any condition of property due to the actual or suspected presence of any foreign substance,
        impurity, pollutant, hazardous material, poison, toxin, pathogen or pathogenic organism, bacteria,
        virus, disease causing or illness causing agent, fungus, mold or mildew.

        contingent time element location:
        A.    any location:

                1) of a direct customer, supplier, contract manufacturer or contract service provider to the
                   Insured;

                2) of any company under a royalty, licensing fee or commission agreement with the
                   Insured;

        B.      any location of a company that is a direct or indirect customer, supplier, contract
                manufacturer or contract service provider to a location described in A1 above,




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        not including locations of any company directly or indirectly supplying to, or receiving from, the
        Insured, electricity, fuel, gas, water, steam, refrigeration, sewage, voice, data or video.

        date or time recognition:
        the recognition, interpretation, calculation, comparison, differentiation, sequencing, accessing or
        processing of data involving one or more dates or times, including the Year 2000.

        earth movement:
        any natural or man-made earth movement including, but not limited to earthquake or landslide,
        regardless of any other cause or event contributing concurrently or in any other sequence of loss.
        However, physical loss or damage by fire, explosion, sprinkler leakage, or flood resulting from
        earth movement will not be considered to be loss by earth movement within the terms and
        conditions of this Policy.

        electronic data processing equipment or media:
        any computer, computer system or component, hardware, network, microprocessor, microchip,
        integrated circuit or similar devices or components in computer or non-computer equipment,
        operating systems, data, programs or other software stored on electronic, electro-mechanical,
        electro-magnetic data processing or production equipment, whether the property of the Insured or
        not.

        fine arts:
        paintings; etchings; pictures; tapestries; rare or art glass; art glass windows; valuable rugs; statuary;
        sculptures; antique furniture; antique jewelry; bric-a-brac; porcelains; and similar property of
        rarity, historical value, or artistic merit excluding automobiles, coins, stamps, furs, jewelry,
        precious stones, precious metals, watercraft, aircraft, money, securities.

        flood:
        flood; surface waters; rising waters; storm surge, sea surge, wave wash; waves; tsunami; tide or
        tidal water; the release of water, the rising, overflowing or breaking of boundaries of natural or
        man-made bodies of water; or the spray therefrom; all whether driven by wind or not; or sewer
        back-up resulting from any of the foregoing; regardless of any other cause or event, whether
        natural or man-made, contributing concurrently or in any other sequence of loss. Physical loss or
        damage from flood associated with a storm or weather disturbance whether or not identified by
        name by any meteorological authority, is considered to be flood within the terms of this Policy.
        However, physical loss or damage by fire, explosion or sprinkler leakage resulting from flood is
        not considered to be loss by flood within the terms and conditions of this Policy.

        Great Britain:
        England and Wales and Scotland but not the territorial seas adjacent thereto as defined by the
        Territorial Sea Act 1987 nor the Isle of Man nor the Channel Islands.

        irreplaceable:
        an item which cannot be replaced with other of like kind and quality.

        location:
        A.     as specified in the Schedule of Locations, or

        B.      if not so specified in the Schedule of Locations:


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                1) a building, yard, dock, wharf, pier or bulkhead (or any group of the foregoing),

                      a) bounded on all sides by public streets, clear land space or open waterways, each not
                         less than 50 feet/15 metres wide. Any bridge or tunnel crossing such street, space or
                         waterway will render such separation inoperative for the purpose of this definition.

        New Madrid Seismic Zone:
        Arkansas, United States of America, counties of:
        Arkansas, Clay, Craighead, Crittenden, Cross, Fulton, Greene, Independence, Izard, Jackson,
        Lawrence, Lee, Lonoke, Mississippi, Monroe, Phillips, Poinsett, Prairie, Randolph, Sharp, St.
        Francis, White, Woodruff

        Illinois, United States of America, counties of:
        Alexander, Bond, Clay, Clinton, Crawford, Edwards, Effingham, Fayette, Franklin, Gallatin,
        Hamilton, Hardin, Jackson, Jasper, Jefferson, Johnson, Lawrence, Madison, Marion, Massac,
        Monroe, Perry, Pope, Pulaski, Randolph, Richland, Saline, St. Clair, Union, Wabash, Washington,
        Wayne, White, Williamson

        Indiana, United States of America, counties of:
        Gibson, Knox, Pike, Posey, Spencer, Vanderburgh, Warrick

        Kentucky, United States of America, counties of:
        Ballard, Caldwell, Calloway, Carlisle, Christian, Crittenden, Daviess, Fulton, Graves, Henderson,
        Hickman, Hopkins, Livingston, Lyon, Marshall, McCracken, McLean, Muhlenberg, Todd, Trigg,
        Union, Webster

        Mississippi, United States of America, counties of:
        Alcorn, Benton, Coahoma, De Soto, Lafayette, Marshall, Panola, Quitman, Tate, Tippah, Tunica

        Missouri, United States of America, counties of:
        Bollinger, Butler, Cape Girardeau, Carter, Dunklin, Iron, Jefferson, Madison, Mississippi, New
        Madrid, Oregon, Pemiscot, Perry, Reynolds, Ripley, Scott, Shannon, St. Francois, St. Louis, City
        of St. Louis, Ste. Genevieve, Stoddard, Washington, Wayne

        Tennessee, United States of America, counties of:
        Benton, Carroll, Chester, Crockett, Decatur, Dyer, Fayette, Gibson, Hardeman, Hardin, Haywood,
        Henderson, Henry, Houston, Humphreys, Lake, Lauderdale, Madison, McNairy, Montgomery,
        Obion, Perry, Shelby, Stewart, Tipton, Weakley

        normal:
        the condition that would have existed had no physical loss or damage happened.

        normal cost:
        the cost associated with the movement of goods or materials suffering the disruption that the
        Insured would have incurred had no physical loss or damage causing disruption happened.




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        occurrence:
        the sum total of all loss or damage of the type insured, including any insured TIME ELEMENT
        loss, arising out of or caused by one discrete event of physical loss or damage, except as respects
        the following:

        A.      terrorism: occurrence shall mean the sum total of all loss or damage of the type insured,
                including any insured TIME ELEMENT loss, arising out of or caused by all acts of
                terrorism during a continuous period of seventy-two (72) hours.

        B.      earth movement: occurrence shall mean the sum total of all loss or damage of the type
                insured, including any insured TIME ELEMENT loss, arising out of or caused by all earth
                movement(s) during a continuous period of seventy-two (72) hours.

        off-premises data processing or data transmission services:
        the storage or processing of data performed off-premises of the Insured’s property, including the
        transmission of voice, data or video over a single, or combination of, computer or communication
        networks.

        Pacific Northwest Seismic Zone:
        Oregon, United States of America, counties of:
        Benton, Clackamas, Clatsop, Columbia, Coos, Curry, Douglas, Hood River, Jackson, Josephine,
        Klamath, Lane, Lincoln, Linn, Marion, Multnomah, Polk, Tillamook, Washington, Yamhill

        Washington, United States of America, counties of:
        Chelan, Clallam, Clark, Cowlitz, Grays Harbor, Island, Jefferson, King, Kitsap, Kittitas, Lewis,
        Mason, Pacific, Pierce, San Juan, Skagit, Skamania, Snohomish, Thurston, Wahkiakum, Whatcom

        British Columbia (includes Vancouver Island), Canada:
        South of 50° N latitude and west of 120° W longitude

        period of operational testing:
        the period of time beginning 24 hours prior to the earlier of the following:

        A.      introduction, into a system, of feedstock or other materials for processing or handling;

        B.      commencement of fuel or energy supply to a system,

        and ending with the earlier of the following:

        A.      the expiration date or cancellation date of this Policy.

        B.      if specified, the number of consecutive days shown in the LIMITS OF LIABILITY clause in
                the DECLARATIONS section.

        physical loss or damage to electronic data, programs or software:
        the destruction, distortion or corruption of electronic data, programs or software.

        rare books:
        books which are highly valued due to their uncommonness.


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        representative company(ies):
        Factory Mutual Insurance Company, FM Insurance Company Limited or FM Insurance Europe
        S.A.; Affiliated FM Insurance Company; Appalachian Insurance Company or any other company
        issuing a local policy at the direction of the Company.

        school period:
        the segment (semester, trimester, quarter, etc.) of the academic year during which an academic
        credit may be earned.

        soft costs:
        costs over and above those that are normal at an insured location undergoing renovation or in the
        course of construction, limited to the following:

        A.      construction loan fees - the additional cost incurred to rearrange loans necessary for the
                completion of construction, repairs or reconstruction including; the cost to arrange
                refinancing, accounting work necessary to restructure financing, legal work necessary to
                prepare new documents, charges by the lenders for the extension or renewal of loans
                necessary.

        B.      commitment fees, leasing and marketing expenses - the cost of returning any commitment
                fees received from prospective tenant(s) or purchaser(s), the cost of re-leasing and marketing
                due to loss of tenant(s) or purchaser(s).

        C.      additional fees for architects, engineers, consultants, attorneys and accountants needed for
                the completion of construction, repairs or reconstruction.

        D.      property taxes, building permits, additional interest on loans, realty taxes and insurance
                premiums.

        terrorism:
        any act, involving the use or threat of: force, violence, dangerous conduct, interference with the
        operations of any business, government or other organization or institution, or any similar act,

        when the effect or apparent purpose is:

        A.      to influence or instill fear in any government (de jure or de facto) or the public, or any
                segment of either; or

        B.      to further or to express support for, or opposition to, any political, religious, social,
                ideological or similar type of objective or position.

        transmission and distribution systems:
        transmission and distribution systems including but not limited to electricity, gas, fuel, steam,
        water, refrigeration, sewerage, voice, data, and video. Such systems shall include poles, towers and
        fixtures, overhead conductors and devices, underground and underwater conduit, underground and
        underwater conductors and devices, line transformers, service meters, street lighting and signal
        systems.



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        valuable papers and records:
        written, printed or otherwise inscribed documents and records, including books, maps, films,
        drawings, abstracts, deeds, mortgages and manuscripts, all of which must be of value to the
        Insured.

        wind:
        direct action of wind including substance driven by wind. Wind does not mean or include
        anything defined as flood in this Policy.




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                                                      SCHEDULE OF LOCATIONS, APPENDIX A

Loc. No. Index No. Name                       Street Address              City              County       State/Providence   Postal Code Country
KU01     031619.09   Kean University          1000 Morris Avenue, 1003 Union                Union        New Jersey         07083-7133    United States of
                     includes Liberty         Morris Avenue, 1040                                                                         America
                     Campus, Green Lane       Morris Avenue & 1075
                     Building & STEM          Morris Avenue
                     Building
                     Kean University East     215 North Avenue            Hillside          Union        New Jersey         07205-3134    United States of
                     Campus                                                                                                               America
KU02     002366.48   Kean University -        1 College Drive             Toms River        Ocean        New Jersey         08753-2239    United States of
                     Ocean County College                                                                                                 America

KU03                 Wenzhou-Kean             88 Daxue Rd, Ouhai          Wenzhou                        Zhejiang           325060        China
                     University
KU04     003210.29   Kean University -        40, 44 & 48 Patton Avenue Princeton           Mercer       New Jersey         08540-5252    United States of
                     Graves Residence /                                                                                                   America
                     “The Warehouse"
KU05     003543.90   Kean University-         243 Mount Paul Rd           Oak Ridge         Morris       New Jersey         07438-9512    United States of
                     Highlands Cabin                                                                                                      America
MSU01    030623.42   Montclair State          1 Normal Avenue             Upper Montclair   Essex        New Jersey         07043-1624    United States of
                     University                                                                                                           America
MSU02    031317.52   Montclair State          1 Wapalanne Road            Branchville       Sussex       New Jersey         07826-5116    United States of
                     University - New                                                                                                     America
                     Jersey School of
                     Conservation
MSU03                Montclair State          31 Clove Road               Little Falls      Passaic      New Jersey         07424-2101    United States of
                     University - Satellite                                                                                               America
                     Properties
NJCU01   029345.76   New Jersey City          2039 & 2078 John F          Jersey City       Hudson       New Jersey         07305-1527    United States of
                     University               Kennedy Boulevard, 110                                                                      America
                                              Culver Avenue, 12, 14, 16,
                                              20, 32, 50, 54 & 64 College
                                              Street & 223, 250-251
                                              West Side Avenue
NJCU02               New Jersey City          160 Harborside Plaza 2,     Jersey City       Hudson       New Jersey         07311-3902    United States of
                     University - School of   Second Floor                                                                                America
                     Business
RC01     030473.45   Ramapo College of NJ 505 Ramapo Valley Road          Mahwah            Bergen       New Jersey         07430-1623    United States of
                                                                                                                                          America
RU01     033065.21   Rowan University         201 Mullica Hill Road       Glassboro         Gloucester   New Jersey         08028-1700    United States of
                                                                                                                                          America

                                                                                                                                     POLICY 0092
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                                                                                                                          Policy No. 1055865
                                                   SCHEDULE OF LOCATIONS, APPENDIX A

Loc. No. Index No. Name                     Street Address             City           County       State/Providence   Postal Code Country
RU02    002292.23   Rowan University-       129 N Broadway             Camden         Camden       New Jersey         08102-1164   United States of
                    Camden                                                                                                         America
RU03    033157.63   Rowan University -      1 & 2 Medical Center       Stratford      Camden       New Jersey         08084-1500   United States of
                    School of Osteopathic   Drive and 40 & 42 East                                                                 America
                    Medicine                Laurel Road
                    Rowan University-       113 East Laurel Road       Stratford      Camden       New Jersey         08084-1363   United States of
                    School of Osteopathic                                                                                          America
                    Medicine
RU04    002292.23   Cooper Medical School   401 South Broadway, 414 Camden            Camden       New Jersey         08103-1211   United States of
                    of Rowan University     S. 5th Street & 512 Benson                                                             America
                                            Street
        002292.23   Rowan University-       129 N Broadway             Camden         Camden       New Jersey         08102-1164   United States of
                    Camden                                                                                                         America
RU05    002946.66   Rowan University -      107 Gilbreth Parkway       Mullica Hill   Gloucester   New Jersey         08062-4446   United States of
                    South Jersey                                                                                                   America
                    Technology Park
                    Rowan University -      109 Gilbreth Parkway       Mullica Hill   Gloucester   New Jersey         08062-4445   United States of
                    IFB 16-100                                                                                                     America
                    Accelerated Pavement
                    Testing Facility

RU06                Rowan University        625 Woodbury Glassboro     Sewell         Gloucester   New Jersey         08080-3733   United States of
                    Fossil Quarry           Road                                                                                   America
RU07                Rowan University -      306 Bailey Road            Mullica Hill   Gloucester   New Jersey         08062-2518   United States of
                    Satellite Properties                                                                                           America
RU10    001969.95   Rowan University -      405 Hurffville Crosskeys   Sewell         Gloucester   New Jersey         08080-9344   United States of
                    School of Osteopathic   Road Suite 203                                                                         America
                    Medicine
                    Rowan University -      405 Hurffville Crosskeys   Sewell         Gloucester   New Jersey         08080-9344   United States of
                    School of Osteopathic   Road Suite 202                                                                         America
                    Medicine
                    Rowan University -      405 Hurffville Crosskeys   Sewell         Gloucester   New Jersey         08080-9340   United States of
                    School of Osteopathic   Road Suite 2011                                                                        America
                    Medicine
RU11                Rowan University -      2150 Route 38              Cherry Hill    Camden       New Jersey         08002-4302   United States of
                    School of Osteopathic                                                                                          America
                    Medicine



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                                                                                                                           Policy No. 1055865
                                                    SCHEDULE OF LOCATIONS, APPENDIX A

Loc. No. Index No. Name                     Street Address             City            County       State/Providence   Postal Code Country
RU12                Rowan University -      570 Egg Harbor Road        Sewell          Gloucester   New Jersey         08080-2359   United States of
                    School of Osteopathic                                                                                           America
                    Medicine
RU13                Rowan University -      373 South White Horse      Hammonton       Atlantic     New Jersey         08037-1135   United States of
                    School of Osteopathic   Pike                                                                                    America
                    Medicine
RU15    003674.36   Rowan University -      100 Century Pkwy Ste 140 Mount Laurel      Burlington   New Jersey         08054-1149   United States of
                    School of Osteopathic                                                                                           America
                    Medicine
                    Rowan University-       100 Century Pkwy Ste 350 Mount Laurel      Burlington   New Jersey         08054-1149   United States of
                    School of Osteopathic                                                                                           America
                    Medicine
RU16    033157.63   Rowan University-       113 East Laurel Road       Stratford       Camden       New Jersey         08084-1363   United States of
                    School of Osteopathic                                                                                           America
                    Medicine
RU18                Rowan University -      412 Ewan Road Suite B      Mullica Hill    Gloucester   New Jersey         08062-3707   United States of
                    School of Osteopathic                                                                                           America
                    Medicine
RU21                Rowan University -      1100 Laurel Oak Road       Voorhees        Camden       New Jersey         08043-4363   United States of
                    School of Osteopathic                                                                                           America
                    Medicine
RU23                Rowan University -      104 E Quillytown Rd        Penns Grove     Salem        New Jersey         08069-3614   United States of
                    Satellite Properties                                                                                            America
RU24                Rowan University -      93 Zee Rd                  Mullica Hill    Gloucester   New Jersey         08062-4439   United States of
                    Satellite Properties                                                                                            America
SU01    032887.74   Stockton University     101 Vera King Farris Drive Galloway        Atlantic     New Jersey         08205-9441   United States of
                                                                                                                                    America
SU02    002350.81   Stockton University -   35 South Dr. Martin Luther Atlantic City   Atlantic     New Jersey         08401        United States of
                    Satellite Properties    King, Jr. Boulevard                                                                     America

SU03                Stockton University -   33 Wilson Avenue           Port Republic   Atlantic     New Jersey         08241-9728   United States of
                    Satellite Properties                                                                                            America
SU04    002770.26   Stockton University -   630 Washington Avenue      Woodbine        Cape May     New Jersey         08270-2027   United States of
                    Satellite Properties                                                                                            America
SU05    002770.25   Stockton University -   30 Front Street            Hammonton       Atlantic     New Jersey         08037-1201   United States of
                    Satellite Properties                                                                                            America
SU07                Stockton University -   417 East Whispering Lane Galloway          Atlantic     New Jersey         08205-2917   United States of
                    Satellite Properties                                                                                            America


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                                                                                                                        Policy No. 1055865
                                                    SCHEDULE OF LOCATIONS, APPENDIX A

Loc. No. Index No. Name                      Street Address           City            County     State/Providence   Postal Code Country
SU09     003221.01   Stockton University -   3430 Atlantic Avenue     Atlantic City   Atlantic   New Jersey         08401-6101   United States of
                     Satellite Properties                                                                                        America
SU10                 Salem Management        712 E Bay Avenue         Manahawkin      Ocean      New Jersey         08050-3447   United States of
                     Company                                                                                                     America
SU11                 Stockton University-    72 W Jimmie Leeds Rd, Ste Galloway       Atlantic   New Jersey         08205-9420   United States of
                     Satellite Properties    2200, 2300, 2400                                                                    America
TCNJ01   032348.16   The College of New      2000 Pennington Road      Ewing          Mercer     New Jersey         08618-1104   United States of
                     Jersey                                                                                                      America
TESU01   032278.31   Thomas Edison State     111 West State Street    Trenton         Mercer     New Jersey         08608-1101   United States of
                     University                                                                                                  America
WPU01    030393.19   William Paterson        300 Pompton Road         Wayne           Passaic    New Jersey         07470-2103   United States of
                     University                                                                                                  America
WPU02    030394.29   William Paterson        1800 Valley Rd           Wayne           Passaic    New Jersey         07470-2047   United States of
                     University                                                                                                  America




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                                                                                                                         Policy No. 1055865
                                                            DAMS SCHEDULE, APPENDIX B

Loc. No. Index No. Name                          Street Address               City          County     State/Province   Postal Code Country
MSU02    031317.52   Montclair State University - 1 Wapalanne Road            Branchville   Sussex     New Jersey       07826-5116   United
                     New Jersey School of                                                                                            States of
                     Conservation                                                                                                    America
RC01     030473.45   Ramapo College of NJ         505 Ramapo Valley Road      Mahwah        Bergen     New Jersey       07430-1623   United
                                                                                                                                     States of
                                                                                                                                     America
SU01     032887.74   Stockton University         101 Vera King Farris Drive   Galloway      Atlantic   New Jersey       08205-9441   United
                                                                                                                                     States of
                                                                                                                                     America
TCNJ01   032348.16   The College of New Jersey   2000 Pennington Road         Ewing         Mercer     New Jersey       08618-1104   United
                                                                                                                                     States of
                                                                                                                                     America
WPU01    030393.19   William Paterson University 300 Pompton Road             Wayne         Passaic    New Jersey       07470-2103   United
                                                                                                                                     States of
                                                                                                                                     America




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                                                                                                                               Policy No. 1055865
                                                                  WIND AREAS, APPENDIX C

Loc. No.   Index No. Name                    Street Address                      City          County   State/Providence   Postal Code Country



Wind Areas Tier 1

KU03                   Wenzhou-Kean          88 Daxue Rd, Ouhai                  Wenzhou                Zhejiang           325060       China
                       University


Wind Areas United States Northeast

KU01       031619.09   Kean University    1000 Morris Avenue, 1003 Morris        Union         Union    New Jersey         07083-7133   United States of
                       includes Liberty   Avenue, 1040 Morris Avenue &                                                                  America
                       Campus, Green Lane 1075 Morris Avenue
                       Building & STEM
                       Building

                       Kean University East 215 North Avenue                     Hillside      Union    New Jersey         07205-3134   United States of
                       Campus                                                                                                           America
KU02       002366.48   Kean University -    1 College Drive                      Toms River    Ocean    New Jersey         08753-2239   United States of
                       Ocean County                                                                                                     America
                       College
MSU01      030623.42   Montclair State       1 Normal Avenue                     Upper         Essex    New Jersey         07043-1624   United States of
                       University                                                Montclair                                              America

NJCU01     029345.76   New Jersey City       2039 & 2078 John F Kennedy          Jersey City   Hudson   New Jersey         07305-1527   United States of
                       University            Boulevard, 110 Culver Avenue, 12,                                                          America
                                             14, 16, 20, 32, 50, 54 & 64 College
                                             Street & 223, 250-251 West Side
                                             Avenue

NJCU02                 New Jersey City       160 Harborside Plaza 2, Second      Jersey City   Hudson   New Jersey         07311-3902   United States of
                       University - School   Floor                                                                                      America
                       of Business

RC01       030473.45   Ramapo College of     505 Ramapo Valley Road              Mahwah        Bergen   New Jersey         07430-1623   United States of
                       NJ                                                                                                               America




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                                                                                                                                  Policy No. 1055865
                                                                    WIND AREAS, APPENDIX C

Loc. No.   Index No. Name                     Street Address                     City           County     State/Providence   Postal Code Country

RU13                   Rowan University -     373 South White Horse Pike         Hammonton      Atlantic   New Jersey         08037-1135   United States of
                       School of                                                                                                           America
                       Osteopathic
                       Medicine

RU23                   Rowan University -     104 E Quillytown Rd                Penns Grove    Salem      New Jersey         08069-3614   United States of
                       Satellite Properties                                                                                                America

SU01       032887.74   Stockton University 101 Vera King Farris Drive            Galloway       Atlantic   New Jersey         08205-9441   United States of
                                                                                                                                           America
SU02       002350.81   Stockton University - 35 South Dr. Martin Luther King, Jr. Atlantic City Atlantic   New Jersey         08401        United States of
                       Satellite Properties Boulevard                                                                                      America

SU03                   Stockton University - 33 Wilson Avenue                    Port Republic Atlantic    New Jersey         08241-9728   United States of
                       Satellite Properties                                                                                                America

SU04       002770.26   Stockton University - 630 Washington Avenue               Woodbine       Cape May   New Jersey         08270-2027   United States of
                       Satellite Properties                                                                                                America


SU05       002770.25   Stockton University - 30 Front Street                     Hammonton      Atlantic   New Jersey         08037-1201   United States of
                       Satellite Properties                                                                                                America


SU07                   Stockton University - 417 East Whispering Lane            Galloway       Atlantic   New Jersey         08205-2917   United States of
                       Satellite Properties                                                                                                America

SU09       003221.01   Stockton University - 3430 Atlantic Avenue                Atlantic City Atlantic    New Jersey         08401-6101   United States of
                       Satellite Properties                                                                                                America


SU10                   Salem Management 712 E Bay Avenue                         Manahawkin Ocean          New Jersey         08050-3447   United States of
                       Company                                                                                                             America

SU11                   Stockton University- 72 W Jimmie Leeds Rd, Ste 2200,      Galloway       Atlantic   New Jersey         08205-9420   United States of
                       Satellite Properties 2300, 2400                                                                                     America




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                                                                                                                                     Policy No. 1055865
                                                         FLOOD LOCATIONS, APPENDIX D

Loc. No. Index No. Name                            Street Address                    City          County       State/Province   Postal Code Country
KU01    031619.09   Kean University              1000 Morris Avenue, 1003 Morris Union             Union        New Jersey       07083-7133    United States of
                    Campus School South,         Avenue, 1040 Morris Avenue &                                                                  America
                    Child Study Institute,       1075 Morris Avenue
                    Campus School East,
                    Administration Building,
                    Townsend Hall,
                    Technology Building,
                    Hutchinson Hall,
                    Willis Hall,
                    Downs Hall,
                    Nancy Thompson Library,
                    Center for Academic Success,
                    Science Building,
                    Bruce Hall,
                    Wilkins Theater,
                    Hennings Hall,
                    Vaughn Eames Hall

                    Kean University East Campus 215 North Avenue                     Hillside      Union        New Jersey       07205-3134    United States of
                                                                                                                                               America
MSU02   031317.52   Montclair State University -   1 Wapalanne Road                  Branchville   Sussex       New Jersey       07826-5116    United States of
                    New Jersey School of                                                                                                       America
                    Conservation
RU01    033065.21   Rowan University               201 Mullica Hill Road             Glassboro     Gloucester   New Jersey       08028-1700    United States of
                    Recreation Center & Pool,                                                                                                  America
                    Triad Dormitory,
                    Magnolia Hall Dormitory,
                    Willow Hall Dormitory,
                    Linden Hall
SU02    002350.81   Stockton University - Satellite 35 South Dr. Martin Luther King, Atlantic City Atlantic     New Jersey       08401         United States of
                    Properties                      Jr. Boulevard                                                                              America

SU03                Stockton University - Satellite 33 Wilson Avenue                 Port          Atlantic     New Jersey       08241-9728    United States of
                    Properties                                                       Republic                                                  America




                                                                                                                                         POLICY 0099
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                                                         FLOOD LOCATIONS, APPENDIX D

Loc. No. Index No. Name                           Street Address           City          County     State/Province   Postal Code Country
SU09    003221.01   Stockton University - Satellite 3430 Atlantic Avenue   Atlantic City Atlantic   New Jersey       08401-6101   United States of
                    Properties                                                                                                    America

SU10                Salem Management Company 712 E Bay Avenue              Manahawkin Ocean         New Jersey       08050-3447   United States of
                                                                                                                                  America




                                                                                                                            POLICY 0100
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                                                FLOOD AND WIND LOCATIONS, APPENDIX E

Loc. No. Index No. Name                     Street Address                         City          County     State/Province   Postal Code Country
KU01    031619.09   Kean University         1000 Morris Avenue, 1003 Morris   Union              Union      New Jersey       07083-7133    United States of
                    includes Liberty        Avenue, 1040 Morris Avenue & 1075                                                              America
                    Campus, Green Lane      Morris Avenue
                    Building & STEM
                    Building

                    Kean University East    215 North Avenue                       Hillside      Union      New Jersey       07205-3134    United States of
                    Campus                                                                                                                 America

SU02    002350.81   Stockton University -   35 South Dr. Martin Luther King, Jr.   Atlantic City Atlantic   New Jersey       08401         United States of
                    Satellite Properties    Boulevard                                                                                      America

SU03                Stockton University -   33 Wilson Avenue                       Port Republic Atlantic   New Jersey       08241-9728    United States of
                    Satellite Properties                                                                                                   America




SU09    003221.01   Stockton University -   3430 Atlantic Avenue                   Atlantic City Atlantic   New Jersey       08401-6101    United States of
                    Satellite Properties                                                                                                   America



SU10                Salem Management        712 E Bay Avenue                       Manahawkin Ocean         New Jersey       08050-3447    United States of
                    Company                                                                                                                America




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                                                                                   Policy No. 1055865

                     SUPPLEMENTAL UNITED STATES
               CERTIFIED ACT OF TERRORISM ENDORSEMENT
This Endorsement is applicable to all insured Locations in the United States, its territories
and possessions and the Commonwealth of Puerto Rico.

Coverage for “Certified Act of Terrorism” Under The Terrorism Risk Insurance Act of 2002, as
amended.

In consideration of a premium charged of USD106,051, this Policy, subject to the terms and conditions
therein and in this Endorsement, covers direct physical loss or damage to insured property and any
resulting TIME ELEMENT loss, as provided in the TIME ELEMENT section of the Policy, caused by or
resulting from a Certified Act of Terrorism as defined herein.

Notwithstanding anything contained elsewhere in this Policy, any exclusion or limitation of terrorism in
this Policy and any endorsement attached to and made a part of this Policy, is hereby amended to the
effect that such exclusion or limitation does not apply to a “Certified Act of Terrorism” as defined herein.
This amendment does not apply to any limit of liability for a Certified Act of Terrorism, if any, stated
under the LIMITS OF LIABILITY clause of the DECLARATIONS section of this Policy.

With respect to any one or more Certified Act(s) of Terrorism, this Company will not pay any amounts
for which the Company is not responsible under the terms of the Terrorism Risk Insurance Act of 2002
(including subsequent action of Congress pursuant to the Act) which includes a provision stating that if
the aggregate insured losses exceed USD100,000,000,000 during any calendar year, neither the United
States Government nor any insurer that has met its insurer deductible shall be liable for the payment of
any portion of the amount of such losses that exceed USD100,000,000,000. If the aggregate insured
losses for all insurers exceed USD100,000,000,000, your coverage may be reduced.

The coverage provided under this Endorsement for “Certified” losses caused by acts of terrorism will be
partially reimbursed by the United States Government under a formula established by Federal Law.
Under this formula, the United States pays 85% (and beginning on January 1, 2016, shall then decrease by
1 percentage point per calendar year until equal to 80 percent) of covered terrorism losses exceeding a
statutorily established retention by the insurer referenced in this Policy. The premium charged for this
coverage is provided above.

The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism
exclusion, do not serve to create coverage for any loss which would otherwise be excluded under this
Endorsement or the Policy.

The coverage provided by this Endorsement only applies to a Certified Act of Terrorism.

Reference and Application: The following term(s) means:

Certified Act of Terrorism:

A “Certified Act of Terrorism” means any act that is certified by the Secretary of the Treasury, in
consultation with the Secretary of Homeland Security, and the Attorney General of the United States, to
be an act of terrorism pursuant to the federal Terrorism Risk Insurance Act of 2002 as amended and

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                                                                                             POLICY 0102
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extended in 2005, 2007, and in 2015. The criteria contained in that Act for a “Certified Act of Terrorism”
include the following:

      a. The act resulted in aggregate losses in excess of USD5,000,000; and

      b. The act is a violent act or an act that is dangerous to human life, property or infrastructure and
         is committed by an individual or individuals as part of an effort to coerce the civilian
         population of the United States or to influence the policy or affect the conduct of the United
         States Government by coercion.




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                                                                                             POLICY 0103
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                                                                                  Account No. 1-51791
                                                                                   Policy No. 1055865


                       CYBER OPTIMAL RECOVERY ENDORSEMENT

It is agreed that this Endorsement is a part of the Policy and that the terms and conditions of the Policy are
amended as described herein. All other terms and conditions of the Policy remain unchanged.

INSURED OPTION:

The Insured acknowledges having purchased a cyber policy.

As respects loss or damage that is covered by both this Policy and the cyber policy, and notwithstanding
anything contained in the OTHER INSURANCE clause in the GENERAL PROVISIONS section of this
Policy, the Insured may elect, within 180 days of notifying this Company of the loss, to apportion the loss
between this Policy and the cyber policy and to designate this Policy as primary, excess or contributing
insurance to the cyber policy with respect to each portion of the loss, provided designating it as such is
necessary to maximize the total indemnity available for the loss under both this Policy and the cyber
policy.

This election option shall be subject to the following additional conditions:

ADDITIONAL CONDITIONS

1) The Insured will provide this Company with a copy of any cyber policy in force at the time of loss.

2) Any coverage provided by the cyber policy that is not provided by this Policy does not extend to this
   Policy.

3) The insolvency, inability or unwillingness to pay of the company issuing the cyber policy shall in no
   event increase this Company’s liability or delay settlement under this Policy.




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                                                                                              POLICY 0104
